Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 1 of 188 PageID #: 1062




                   EXHIBIT 3
                  To Notice of Removal
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 2 of 188 PageID #: 1063
   EFiled: Apr 27 2022 12:19PM EDT
   Transaction ID 67511406
   Case No. N22C-04-010 MMJ CCLD




                                                                   Exhibit - Page 1
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 3 of 188 PageID #: 1064




                                                                   Exhibit - Page 2
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 4 of 188 PageID #: 1065




                                                                   Exhibit - Page 3
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 5 of 188 PageID #: 1066




                                                                   Exhibit - Page 4
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 6 of 188 PageID #: 1067




                                                                   Exhibit - Page 5
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 7 of 188 PageID #: 1068




                                                                   Exhibit - Page 6
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 8 of 188 PageID #: 1069
                                                               EFiled: May 04 2022 12:20PM EDT
               Kent County Sheriff’s Office                    Transaction ID 67585202
                                                                         STATE of DELAWARE
               555 Bay Rd                                      Case No. N22C-04-010 MMJ CCLD
                                                                               KENT COUNTY
               Dover, DE 19901
                                                                                           5/4/2022
               302-736-2161

                                SHERIFF’S RETURN
Amtrust Financial Services, Inc.,                 C.A. No.:
                                     Plaintiff,                  N22C-04-010 MMJ CCLD
        Vs.                                       Sheriff No.:
                                                                 22001100
Forge Underwriting Limited, Aspen                 Attorney:
Syndicate 4711, Markel Bermuda Limited,           Firm:          David . Baldwn of
Allianz Global US Risks Insurance                                Berger Harris LLC
Company, Arch Insurance Company,                                 1105 North Market Street
Ironshore Indemnity, Inc., and U.S.                              11th Floor
Specialty Insurance Company                                      Wilmington, DE 19801
                                  Defendant

To:       Superior Court - NC

Non Est. Forge Underwriting Limited, c/o Insurance Commissioner Trinadad Navarro this day, 5/4/2022,
at:
        1351 West North Street
        Suite 101
        Dover, DE 19904

Summons/Complaint.



Reason:    Unknown Enity

                                      So Answers,




                                      Brian E. Lewis
                                      Sheriff of Kent County




Form: RC-412 Non Est
Revised: 12/11/2018

                                                                                        Exhibit - Page 7
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 9 of 188 PageID #: 1070
                                                               EFiled: May 04 2022 12:20PM EDT
               Kent County Sheriff’s Office                    Transaction ID 67585204
                                                                         STATE of DELAWARE
               555 Bay Rd                                      Case No. N22C-04-010 MMJ CCLD
                                                                               KENT COUNTY
               Dover, DE 19901
                                                                                           5/4/2022
               302-736-2161

                                SHERIFF’S RETURN
Amtrust Financial Services, Inc.,                 C.A. No.:
                                     Plaintiff,                  N22C-04-010 MMJ CCLD
        Vs.                                       Sheriff No.:
                                                                 22001100
Forge Underwriting Limited, Aspen                 Attorney:
Syndicate 4711, Markel Bermuda Limited,           Firm:          David . Baldwn of
Allianz Global US Risks Insurance                                Berger Harris LLC
Company, Arch Insurance Company,                                 1105 North Market Street
Ironshore Indemnity, Inc., and U.S.                              11th Floor
Specialty Insurance Company                                      Wilmington, DE 19801
                                  Defendant

To:       Superior Court - NC

Non Est. Aspen Syndicate 4711 c/o Insurance Commissioner Trinadad Navarro this day, 5/4/2022, at:
        1351 West North Street
        Suite 101
        Dover, DE 19904

Summons/Complaint.



Reason:    Unknown Entity

                                      So Answers,




                                      Brian E. Lewis
                                      Sheriff of Kent County




Form: RC-412 Non Est
Revised: 12/11/2018

                                                                                        Exhibit - Page 8
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 10 of 188 PageID #: 1071
                                                                     EFiled: May 04 2022 12:20PM EDT
                Kent County Sheriff’s Office                         Transaction ID 67585206
                                                                               STATE of DELAWARE
                555 Bay Rd                                           Case No. N22C-04-010 MMJ CCLD
                                                                                     KENT COUNTY
                Dover, DE 19901
                                                                                                    5/4/2022
                302-736-2161

                                       SHERIFF’S RETURN

 Amtrust Financial Services, Inc.,                    C.A. No.:
                                         Plaintiff,                   N22C-04-010 MMJ CCLD
         Vs.                                          Sheriff No.:
                                                                      22001100
 Forge Underwriting Limited, Aspen Syndicate          Attorney:
 4711, Markel Bermuda Limited, Allianz Global         Firm:           David . Baldwn of
 US Risks Insurance Company, Arch Insurance                           Berger Harris LLC
 Company, Ironshore Indemnity, Inc., and U.S.                         1105 North Market Street
 Specialty Insurance Company                                          11th Floor
 To:     Superior Court - NC          Defendant                       Wilmington, DE 19801

 Served the within Writ upon:

 Markel Bermuda Limited c/o Insurance Commissioner Trinadad Navarro

 by delivering to and leaving in the hands of Markel Bermuda Limited c/o Insurance Commissioner
 Trinadad Navarro, Insurance Commissioner of the State of Delaware, true copies of the said Writ
 together with a copy of the plaintiff’s

 Summons/Complaint

 $25 Check attached for Insurance Commissioner

 as prescribed by Title 18 Delaware Code Section 525 this day, 4/26/2022.




                                         So Answers,




                                         Brian E. Lewis
                                         Sheriff of Kent County




 Form: RC-402 Insurance Commissioner
 Revised: 12/11/2018

                                                                                                 Exhibit - Page 9
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 11 of 188 PageID #: 1072
                                                                     EFiled: May 04 2022 12:20PM EDT
                Kent County Sheriff’s Office                         Transaction ID 67585207
                                                                               STATE of DELAWARE
                555 Bay Rd                                           Case No. N22C-04-010 MMJ CCLD
                                                                                     KENT COUNTY
                Dover, DE 19901
                                                                                                 5/4/2022
                302-736-2161

                                       SHERIFF’S RETURN

 Amtrust Financial Services, Inc.,                    C.A. No.:
                                         Plaintiff,                   N22C-04-010 MMJ CCLD
         Vs.                                          Sheriff No.:
                                                                      22001100
 Forge Underwriting Limited, Aspen Syndicate          Attorney:
 4711, Markel Bermuda Limited, Allianz Global         Firm:           David . Baldwn of
 US Risks Insurance Company, Arch Insurance                           Berger Harris LLC
 Company, Ironshore Indemnity, Inc., and U.S.                         1105 North Market Street
 Specialty Insurance Company                                          11th Floor
 To:     Superior Court - NC          Defendant                       Wilmington, DE 19801

 Served the within Writ upon:

 Allianz Global US Risks Insuance Company c/oInsurance Commissioner Trinadad Navarro

 by delivering to and leaving in the hands of Allianz Global US Risks Insuance Company c/oInsurance
 Commissioner Trinadad Navarro, Insurance Commissioner of the State of Delaware, true copies of the
 said Writ together with a copy of the plaintiff’s

 Summons/Complaint

 $25 Check attached for Insurance Commissioner

 as prescribed by Title 18 Delaware Code Section 525 this day, 4/26/2022.




                                         So Answers,




                                         Brian E. Lewis
                                         Sheriff of Kent County




 Form: RC-402 Insurance Commissioner
 Revised: 12/11/2018

                                                                                             Exhibit - Page 10
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 12 of 188 PageID #: 1073
                                                                     EFiled: May 04 2022 12:20PM EDT
                Kent County Sheriff’s Office                         Transaction ID 67585208
                                                                               STATE of DELAWARE
                555 Bay Rd                                           Case No. N22C-04-010 MMJ CCLD
                                                                                     KENT COUNTY
                Dover, DE 19901
                                                                                                 5/4/2022
                302-736-2161

                                       SHERIFF’S RETURN

 Amtrust Financial Services, Inc.,                    C.A. No.:
                                         Plaintiff,                   N22C-04-010 MMJ CCLD
         Vs.                                          Sheriff No.:
                                                                      22001100
 Forge Underwriting Limited, Aspen Syndicate          Attorney:
 4711, Markel Bermuda Limited, Allianz Global         Firm:           David . Baldwn of
 US Risks Insurance Company, Arch Insurance                           Berger Harris LLC
 Company, Ironshore Indemnity, Inc., and U.S.                         1105 North Market Street
 Specialty Insurance Company                                          11th Floor
 To:     Superior Court - NC          Defendant                       Wilmington, DE 19801

 Served the within Writ upon:

 Arch Insurance Company c/o Insurance Commissioner Trinadad Navarro

 by delivering to and leaving in the hands of Arch Insurance Company c/o Insurance Commissioner
 Trinadad Navarro, Insurance Commissioner of the State of Delaware, true copies of the said Writ
 together with a copy of the plaintiff’s

 Summons/Complaint

 $25 Check attached for Insurance Commissioner

 as prescribed by Title 18 Delaware Code Section 525 this day, 4/26/2022.




                                         So Answers,




                                         Brian E. Lewis
                                         Sheriff of Kent County




 Form: RC-402 Insurance Commissioner
 Revised: 12/11/2018

                                                                                             Exhibit - Page 11
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 13 of 188 PageID #: 1074
                                                                     EFiled: May 04 2022 12:20PM EDT
                Kent County Sheriff’s Office                         Transaction ID 67585209
                                                                               STATE of DELAWARE
                555 Bay Rd                                           Case No. N22C-04-010 MMJ CCLD
                                                                                     KENT COUNTY
                Dover, DE 19901
                                                                                                 5/4/2022
                302-736-2161

                                       SHERIFF’S RETURN

 Amtrust Financial Services, Inc.,                    C.A. No.:
                                         Plaintiff,                   N22C-04-010 MMJ CCLD
         Vs.                                          Sheriff No.:
                                                                      22001100
 Forge Underwriting Limited, Aspen Syndicate          Attorney:
 4711, Markel Bermuda Limited, Allianz Global         Firm:           David . Baldwn of
 US Risks Insurance Company, Arch Insurance                           Berger Harris LLC
 Company, Ironshore Indemnity, Inc., and U.S.                         1105 North Market Street
 Specialty Insurance Company                                          11th Floor
 To:     Superior Court - NC          Defendant                       Wilmington, DE 19801

 Served the within Writ upon:

 Ironshore Indemnity, Inc. c/o Insurance Commissioner Trinadad Navarro

 by delivering to and leaving in the hands of Ironshore Indemnity, Inc. c/o Insurance Commissioner
 Trinadad Navarro, Insurance Commissioner of the State of Delaware, true copies of the said Writ
 together with a copy of the plaintiff’s

 Summons/Complaint

 $25 Check attached for Insurance Commissioner

 as prescribed by Title 18 Delaware Code Section 525 this day, 4/26/2022.




                                         So Answers,




                                         Brian E. Lewis
                                         Sheriff of Kent County




 Form: RC-402 Insurance Commissioner
 Revised: 12/11/2018

                                                                                             Exhibit - Page 12
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 14 of 188 PageID #: 1075
                                                                     EFiled: May 04 2022 12:20PM EDT
                Kent County Sheriff’s Office                         Transaction ID 67585210
                                                                               STATE of DELAWARE
                555 Bay Rd                                           Case No. N22C-04-010 MMJ CCLD
                                                                                     KENT COUNTY
                Dover, DE 19901
                                                                                                 5/4/2022
                302-736-2161

                                       SHERIFF’S RETURN

 Amtrust Financial Services, Inc.,                    C.A. No.:
                                         Plaintiff,                   N22C-04-010 MMJ CCLD
         Vs.                                          Sheriff No.:
                                                                      22001100
 Forge Underwriting Limited, Aspen Syndicate          Attorney:
 4711, Markel Bermuda Limited, Allianz Global         Firm:           David . Baldwn of
 US Risks Insurance Company, Arch Insurance                           Berger Harris LLC
 Company, Ironshore Indemnity, Inc., and U.S.                         1105 North Market Street
 Specialty Insurance Company                                          11th Floor
 To:     Superior Court - NC          Defendant                       Wilmington, DE 19801

 Served the within Writ upon:

 U.S. Specialty Insurane Company c/o Insurance Commissioner Trinadad Navarro

 by delivering to and leaving in the hands of U.S. Specialty Insurane Company c/o Insurance
 Commissioner Trinadad Navarro, Insurance Commissioner of the State of Delaware, true copies of the
 said Writ together with a copy of the plaintiff’s

 Summons/Complaint

 $25 Check attached for Insurance Commissioner

 as prescribed by Title 18 Delaware Code Section 525 this day, 4/26/2022.




                                         So Answers,




                                         Brian E. Lewis
                                         Sheriff of Kent County




 Form: RC-402 Insurance Commissioner
 Revised: 12/11/2018

                                                                                             Exhibit - Page 13
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 15 of 188 PageID #: 1076
                                                    EFiled: May 09 2022 06:41PM EDT
                                                    Transaction ID 67602235
                                                    Case No. N22C-04-010 MMJ CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


  AMTRUST FINANCIAL SERVICES,
  INC.,

              Plaintiff,

              v.                           C.A. No. N22C-04-110 MMJ CCLD

  FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
  ASPEN SYNDICATE 4711,        TWELVE DEMANDED
  MARKEL BERMUDA LIMITED,
  ALLIANZ GLOBAL US RISKS
  INSURANCE COMPANY, ARCH
  INSURANCE COMPANY,
  IRONSHORE INDEMNITY, INC.,
  and U.S. SPECIALTY INSURANCE
  COMPANY,

              Defendants.


                    NOTICE OF VOLUNTARY DISMISSAL
                     OF MARKEL BERMUDA LIMITED

       Plaintiff AmTrust Financial Services, Inc. hereby voluntarily dismisses

 defendant Markel Bermuda Limited from the above-captioned action without

 prejudice pursuant to Superior Court Civil Rule 41(a)(1)(I)1.      This voluntary

 dismissal applies solely to defendant Markel Bermuda Limited.



 1 Super Ct. Civ. R. 41(a): “Voluntary Dismissal: Effect Thereof. (1) By Plaintiff …
 an action may be dismissed by the plaintiff without order of court (I) except in
 replevin, by filing a notice of dismissal at any time before service by the adverse
 party of an answer or of a motion for summary judgment whichever first occurs[.]”



                                                                         Exhibit - Page 14
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 16 of 188 PageID #: 1077




  Dated: May 9, 2022                      BERGER HARRIS LLP

                                          /s/ David J. Baldwin
                                          David J. Baldwin (No. 1010)
                                          Peter C. McGivney (No. 5779)
                                          Zachary J. Schnapp (No. 6914)
                                          1105 N. Market Street, 11th Floor
                                          Wilmington, Delaware 19801
                                          Phone: (302) 655-1140
                                          Fax: (302) 655-1131
                                          dbaldwin@bergerharris.com
                                          pmcgivney@bergerharris.com
                                          zschnapp@bergerharris.com

                                          Attorneys for Plaintiff




                                      2
                                                                       Exhibit - Page 15
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 17 of 188 PageID #: 1078
                                                   EFiled: May 13 2022 09:27AM EDT
                                                   Transaction ID 67617189
                                                   Case No. N22C-04-010 MMJ CCLD
                IN THE SUPERIOR COURT OF DELAWARE

 AMTRUST FINANCING SERVICES,                )
 INC.,                                      ))
                                            )
                   Plaintiff,               )
                                            )      C.A. No. N22C-04-010 MMJ
                   v.                       )      CCLD
                                            )
 FORGE UNDERWRITING LIMITED,                )
 et al,)                                    )
                                            )
                   Defendants.              )

                           ENTRY OF APPEARANCE

       PLEASE ENTER THE APPEARANCE of Robert J. Katzenstein and Julie M.

 O’Dell of Smith Katzenstein & Jenkins LLP for defendants Ironshore Indemnity,

 Inc. and Arch Insurance Company in this matter.


 Dated: May 13, 2022

                                    SMITH, KATZENSTEIN & JENKINS LLP

                                    /s/   Robert J. Katzenstein
                                    Robert J. Katzenstein (No. 378)
                                    Julie M. O’Dell (No. 6191)
                                    1000 West Street, Suite 1501
                                    Wilmington, DE 19801
                                    (302) 652-8400
                                    rjk@skjlaw.com
                                    jmo@skjlaw.com

                                    Attorneys for Defendants Ironshore
                                    Indemnity, Inc. and Arch Insurance Company




                                                                      Exhibit - Page 16
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 18 of 188 PageID #: 1079




                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on May 13, 2022, a true and correct copy of the

 foregoing Entry of Appearance was served on all counsel of record by

 File&ServeXpress.



                                               /s/ Robert J. Katzenstein
                                          Robert J. Katzenstein (No. 378)




                                                                    Exhibit - Page 17
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 19 of 188 PageID #: 1080
                                                EFiled: May 13 2022 05:20PM EDT
                                                Transaction ID 67620664
                                                Case No. N22C-04-010 MMJ CCLD




                                                                    Exhibit - Page 18
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 20 of 188 PageID #: 1081




                                                                    Exhibit - Page 19
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 21 of 188 PageID #: 1082
                                                EFiled: May 13 2022 05:20PM EDT
                                                Transaction ID 67620664
                                                Case No. N22C-04-010 MMJ CCLD




                             Exhibit 1




                                                                    Exhibit - Page 20
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 22 of 188 PageID #: 1083




                                                                    Exhibit - Page 21
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 23 of 188 PageID #: 1084
                                                    EFiled: May 13 2022 05:20PM EDT
                                                    Transaction ID 67620664
                                                    Case No. N22C-04-010 MMJ CCLD
                          CERTIFICATE OF SERVICE

       I, Peter C. McGivney, hereby certify that on May 13, 2022, I caused a true

 and correct copy of the foregoing Amendment to Complaint under Superior Court

 Rule 4(h) to be served upon the following parties in the manner indicated below:

 VIA FILE & SERVEXPRESS

 Robert J. Katzenstein, Esq.
 Julie M. O’Dell, Esq.
 Smith Katzenstein & Jenkins LLP
 1000 West Street, Suite 1501
 Wilmington, DE 19801


                                             /s/ Peter C. McGivney
                                             Peter C. McGivney (No. 5779)




                                                                         Exhibit - Page 22
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 24 of 188 PageID #: 1085
                                                EFiled: May 13 2022 05:24PM EDT
                                                Transaction ID 67620674
                                                Case No. N22C-04-010 MMJ CCLD




                                                                    Exhibit - Page 23
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 25 of 188 PageID #: 1086




                                                                    Exhibit - Page 24
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 26 of 188 PageID #: 1087
                                                EFiled: May 13 2022 05:24PM EDT
                                                Transaction ID 67620674
                                                Case No. N22C-04-010 MMJ CCLD




                             Exhibit 1




                                                                    Exhibit - Page 25
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 27 of 188 PageID #: 1088




                                                                    Exhibit - Page 26
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 28 of 188 PageID #: 1089
                                                    EFiled: May 13 2022 05:24PM EDT
                                                    Transaction ID 67620674
                                                    Case No. N22C-04-010 MMJ CCLD
                          CERTIFICATE OF SERVICE

       I, Peter C. McGivney, hereby certify that on May 13, 2022, I caused a true

 and correct copy of the foregoing Amendment to Complaint under Superior Court

 Rule 4(h) to be served upon the following parties in the manner indicated below:

 VIA FILE & SERVEXPRESS

 Robert J. Katzenstein, Esq.
 Julie M. O’Dell, Esq.
 Smith Katzenstein & Jenkins LLP
 1000 West Street, Suite 1501
 Wilmington, DE 19801


                                             /s/ Peter C. McGivney
                                             Peter C. McGivney (No. 5779)




                                                                         Exhibit - Page 27
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 29 of 188 PageID #: 1090
                                                EFiled: May 13 2022 05:26PM EDT
                                                Transaction ID 67620684
                                                Case No. N22C-04-010 MMJ CCLD




                                                                    Exhibit - Page 28
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 30 of 188 PageID #: 1091




                                                                    Exhibit - Page 29
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 31 of 188 PageID #: 1092
                                                EFiled: May 13 2022 05:26PM EDT
                                                Transaction ID 67620684
                                                Case No. N22C-04-010 MMJ CCLD




                             Exhibit 1




                                                                    Exhibit - Page 30
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 32 of 188 PageID #: 1093




                                                                    Exhibit - Page 31
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 33 of 188 PageID #: 1094
                                                    EFiled: May 13 2022 05:26PM EDT
                                                    Transaction ID 67620684
                                                    Case No. N22C-04-010 MMJ CCLD
                          CERTIFICATE OF SERVICE

       I, Peter C. McGivney, hereby certify that on May 13, 2022, I caused a true

 and correct copy of the foregoing Amendment to Complaint under Superior Court

 Rule 4(h) to be served upon the following parties in the manner indicated below:

 VIA FILE & SERVEXPRESS

 Robert J. Katzenstein, Esq.
 Julie M. O’Dell, Esq.
 Smith Katzenstein & Jenkins LLP
 1000 West Street, Suite 1501
 Wilmington, DE 19801


                                             /s/ Peter C. McGivney
                                             Peter C. McGivney (No. 5779)




                                                                         Exhibit - Page 32
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 34 of 188 PageID #: 1095
                                                EFiled: May 13 2022 05:29PM EDT
                                                Transaction ID 67620690
                                                Case No. N22C-04-010 MMJ CCLD




                                                                    Exhibit - Page 33
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 35 of 188 PageID #: 1096




                                                                    Exhibit - Page 34
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 36 of 188 PageID #: 1097
                                                EFiled: May 13 2022 05:29PM EDT
                                                Transaction ID 67620690
                                                Case No. N22C-04-010 MMJ CCLD




                             Exhibit 1




                                                                    Exhibit - Page 35
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 37 of 188 PageID #: 1098




                                                                    Exhibit - Page 36
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 38 of 188 PageID #: 1099
                                                    EFiled: May 13 2022 05:29PM EDT
                                                    Transaction ID 67620690
                                                    Case No. N22C-04-010 MMJ CCLD
                          CERTIFICATE OF SERVICE

       I, Peter C. McGivney, hereby certify that on May 13, 2022, I caused a true

 and correct copy of the foregoing Amendment to Complaint under Superior Court

 Rule 4(h) to be served upon the following parties in the manner indicated below:

 VIA FILE & SERVEXPRESS

 Robert J. Katzenstein, Esq.
 Julie M. O’Dell, Esq.
 Smith Katzenstein & Jenkins LLP
 1000 West Street, Suite 1501
 Wilmington, DE 19801


                                             /s/ Peter C. McGivney
                                             Peter C. McGivney (No. 5779)




                                                                         Exhibit - Page 37
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 39 of 188 PageID #: 1100
                                                  EFiled: May 18 2022 08:57AM EDT
                                                  Transaction ID 67631730
                                                  Case No. N22C-04-010 MMJ CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


  AMTRUST FINANICAL SERVICES,
  INC.

                          Plaintiff,        C.A. No. N22C-04-010 MMJ CCLD
              v.

  FORGE UNDERWRITING LIMITED,
  et al.,

                         Defendants.

                         ENTRY OF APPEARANCE

       PLEASE ENTER THE APPEARANCE of John C. Phillips, Jr., Esquire as

 counsel for Defendants Forge Underwriting Limited and Aspen Syndicate 4711 in

 the above matter.



 Date: May 18, 2022                    PHILLIPS, MCLAUGHLIN & HALL, P.A.

                                       /s/ John C. Phillips, Jr.
                                       John C. Phillips, Jr. (#110)
                                       David A. Bilson (#4986)
                                       1200 North Broom Street
                                       Wilmington, DE 19806
                                       (302) 655-4200
                                       jcp@pmhdelaw.com
                                       dab@pmhdelaw.com
                                       Attorneys for Defendants Forge
                                       Underwriting Limited and Aspen Syndicate
                                       4711




                                                                      Exhibit - Page 38
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 40 of 188 PageID #: 1101
                                                  EFiled: May 18 2022 08:58AM EDT
                                                  Transaction ID 67631736
                                                  Case No. N22C-04-010 MMJ CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


  AMTRUST FINANICAL SERVICES,
  INC.

                          Plaintiff,        C.A. No. N22C-04-010 MMJ CCLD
              v.

  FORGE UNDERWRITING LIMITED,
  et al.,

                         Defendants.

                         ENTRY OF APPEARANCE

       PLEASE ENTER THE APPEARANCE of David A. Bilson, Esquire as

 counsel for Defendants Forge Underwriting Limited and Aspen Syndicate 4711 in

 the above matter.



 Date: May 18, 2022                    PHILLIPS, MCLAUGHLIN & HALL, P.A.

                                       /s/ David A. Bilson
                                       John C. Phillips, Jr. (#110)
                                       David A. Bilson (#4986)
                                       1200 North Broom Street
                                       Wilmington, DE 19806
                                       (302) 655-4200
                                       jcp@pmhdelaw.com
                                       dab@pmhdelaw.com
                                       Attorneys for Defendants Forge
                                       Underwriting Limited and Aspen Syndicate
                                       4711




                                                                      Exhibit - Page 39
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 41 of 188 PageID #: 1102
                                                    EFiled: May 19 2022 04:51PM EDT
                                                    Transaction ID 67639775
                                                    Case No. N22C-04-010 MMJ CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

  AMTRUST FINANCIAL SERVICES,
  INC.,

                           Plaintiff,
              v.                             C.A. No. N22C-04-010 MMJ CCLD

  FORGE UNDERWRITING LIMITED,
  et al.,

                           Defendants.

                   STIPULATION AND [PROPOSED] ORDER

       IT IS HEREBY STIPULATED AND AGREED by Plaintiff and Defendants

 Forge Underwriting Limited (“Forge”) and Aspen Syndicate 4711 (“Aspen”),

 through the undersigned counsel and subject to the approval of the Court, that the

 deadline for Forge and Aspen to answer, move, or otherwise respond to the

 Complaint (Trans. ID No. 67446229) shall be extended to June 20, 2022.



 Dated: May 19, 2022

  BERGER HARRIS LLP                         PHILLIPS MCLAUGHLIN & HALL, P.A.

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                                         Underwriting Limited & Aspen
  Attorneys for Plaintiff                Syndicate 4711




       IT IS SO ORDERED this         day of                        , 2022.



                                                                              , J.




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   EFiled: May 25 2022 11:21AM EDT
   Transaction ID 67658314
   Case No. N22C-04-010 MMJ CCLD




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                                                    EFiled: Jun 20 2022 04:40PM EDT
                                                    Transaction ID 67741990
                                                    Case No. N22C-04-010 MMJ CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
 _________________________________
                                   )
   AMTRUST FINANCIAL               )
   SERVICES, INC.,                 )
                                   )
                    Plaintiff,     )
                                   ) C.A. No. N22C-04-010 MMJ CCLD
        v.                         )
                                   )
   FORGE UNDERWRITING              )
   LIMITED, et al.,                )
                                   )
                    Defendants.    )
                                   )

             DEFENDANTS FORGE UNDERWRITING LIMITED
                   AND ASPEN SYNDICATE 4711’S
                MOTION TO DISMISS THE COMPLAINT

       Pursuant to Superior Court Civil Rule 12(b), Defendants Forge Underwriting

 Limited and Aspen Syndicate 4711 (together, “Underwriters”) move this Honorable

 Court for an Order dismissing them from this action and requiring that Plaintiff

 AmTrust Financial Services, Inc. pursue any claim for coverage under Underwriters’

 policies in the New York courts. The grounds for this motion are fully set forth in

 the concurrently-filed Opening Brief in support.




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                                                EFiled: Jun 20 2022 04:40PM EDT
                                                Transaction ID 67741990
                                                Case No. N22C-04-010 MMJ CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
 _________________________________
                                   )
   AMTRUST FINANCIAL               )
   SERVICES, INC.,                 )
                                   )
                    Plaintiff,     )
                                   ) C.A. No. N22C-04-010 MMJ CCLD
        v.                         )
                                   )
   FORGE UNDERWRITING              )
   LIMITED, et al.,                )
                                   )
                    Defendants.    )
                                   )



                 OPENING BRIEF IN SUPPORT OF
           FORGE UNDERWRITING LIMITED AND ASPEN
       SYNDICATE 4711’s MOTION TO DISMISS THE COMPLAINT




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  Dated: June 20, 2022                  Underwriting Limited and         Aspen
                                        Syndicate 4711




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                          STATEMENT OF THE CASE

       Delaware is not a proper jurisdiction or venue for this coverage dispute

 between plaintiff AmTrust Financial Services, Inc. (“AmTrust”) and Defendants

 Aspen Syndicate 4711 and Forge Underwriting Limited (together, “Underwriters”).

 The relevant policies issued by Underwriters to AmTrust provide that New York

 courts have exclusive jurisdiction over any dispute arising under the policies.

 Therefore, this Court should dismiss Underwriters from this action and require

 AmTrust to pursue its claim for coverage under Underwriters’ policies in the New

 York courts.

       AmTrust, which is a New York based insurance company, filed this coverage

 action against seven insurers, seeking coverage for an underlying securities class

 action styled Martinek v. AmTrust Financial Service, Inc. et al., Case No, 19-8030,

 pending in the U.S. District Court for the Southern District of New York (the

 “Martinek Action”), under 13 different excess directors and officers liability

 insurance policies described in AmTrust’s complaint (the “Complaint”). This

 motion to dismiss applies to two of the policies referenced in the Complaint which

 were issued by Underwriters: Excess Directors & Officers Liability and Company

 Reimbursement Insurance Policy Nos. B0509FINFW1800560 (the “Fifth Excess

 Policy”) and B0509FINFW1800561 (the “Sixth Excess Policy,” and together with

 the Fifth Excess Policy, “Underwriters’ Excess Policies”). AmTrust disputes


                                         1

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 Underwriters’ position that coverage is not available for the Martinek Action under

 Underwriters’ Excess Policies as the Claim was not first made in the Policy Period

 and multiple exclusions apply.

          Underwriters’ Excess Policies both contain identical forum selection and

 choice-of-law clauses. Specifically, AmTrust and Underwriters agreed in these

 provisions that any dispute arising under Underwriters’ Excess Policies will be

 subject to the exclusive jurisdiction of New York courts and governed by New York

 law. Despite this agreement, AmTrust brought this action in Delaware Superior

 Court.

          Under both applicable New York law or Delaware law, forum selection

 clauses are broadly construed and strictly enforced, and AmTrust has not provided

 any basis to invalidate the forum selection provisions of Underwriters’ Excess

 Policies. Therefore, this Court should grant Underwriters’ motion to dismiss, as the

 parties have agreed Delaware is not the proper jurisdiction to decide the coverage

 dispute under Underwriters’ Excess Policies and should require that any action be

 brought in a New York court, consistent with the express terms of the forum

 selection provisions.

                    STATEMENT OF QUESTIONS INVOLVED

    1. Whether, pursuant to Super. Ct. Civ. R. 12(b)(3), the Complaint should be

 dismissed for improper venue as against Underwriters because the Underwriters’


                                          2

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 Excess Policies, under which this coverage dispute arises, provide that any dispute

 arising under those policies is subject to the exclusive jurisdiction of New York

 courts?

                            STATEMENT OF FACTS

 A.    Underwriters’ Excess Policies

       The Complaint seeks coverage under a number of excess directors and officers

 liability insurance policies issued to AmTrust (the “Excess Policies”) for the Policy

 Period November 29, 2018 to November 29, 2024 (the “Policy Period”). (See

 Compl. ¶¶ 3-5.) Specifically, the Excess Policies are part of the following tower of

 primary and excess directors and officers liability insurance policies issued to

 AmTrust for the Policy Period (the “Coverage Tower”):

           Layer         Insurer                         Limits
           Primary       Indian Harbor (XL)              $5 million (excess of
                                                         a      $5     million
                                                         retention)
           First Excess Zurich American                  $5 million excess of
                                                         $5 million
           Second       AXIS Insurance                   $5 million excess of
           Excess                                        $10 million
           Third        Markel/Allianz                   $5 million excess of
           Excess                                        $15 million
           Fourth       Hiscox Lloyd’s Syndicate 033     $5 million excess of
           Excess                                        $20 million
           Fifth Excess Underwriters/Arch/Markel         $15 million excess of
                                                         $25 million
           Sixth Excess Underwriters/Arch/Markel/Allianz $10 million excess of
                                                         $40 million
           Seventh      Ironshore/HCC/Markel             $10 million excess of
           Excess                                        $50 million
                                          3

                                                                          Exhibit - Page 52
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       In this action, AmTrust names certain insurers that issued policies in the Third

 Excess, Fifth Excess, Sixth Excess, and Seventh Excess layers of the Coverage

 Tower, including Underwriters’ Excess Policies.

       1.     The Fifth Excess Policy

       The Fifth Excess Policy, attached as Exhibit L to the Complaint, has a limit

 of liability of $15 million in the aggregate, with an order of 58% of 100%, excess of

 $25 million in the aggregate in underlying limits provided by primary Executive and

 Corporate Securities Liability Insurance Policy No. US0008794DO17A (the

 “Primary Policy”, attached to the Complaint as Exhibit B) and the underlying excess

 policies referenced in the table above (the “Underlying Insurance”, attached to the

 Complaint as Exhibits D, F, H, I, and J).1

       The Fifth Excess Policy provides coverage “upon the terms, conditions and

 limitations of the Primary Policy2 except insofar as express provision for any matter

 is set out in this excess policy, and only insofar as necessary, the terms, conditions

 and limitations set out in this excess policy will prevail over the corresponding terms,

 conditions and limitations of the Primary Policy.”




 1
   The insurers that issued the Underlying Insurance are referred to herein as the
 “Underlying Insurers”. Aspen has a $5,500,000 share of the limit of the Fifth Excess
 Policy, and Forge has a $3,200,000 share of the limit of the Fifth Excess Policy.
 2
   Terms in bold are defined in Underwriters’ Excess Policies.
                                              4

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       2.     The Sixth Excess Policy

       The Sixth Excess Policy, attached as Exhibit P to the Complaint, has a limit

 of liability of $10 million in the aggregate, with an order of 38% of 100%, excess of

 $40 million in the aggregate in underlying limits provided by the Underlying

 Insurance and the Fourth Excess Policy.3

       The Sixth Excess Policy also provides coverage “upon the terms, conditions

 and limitations of the Primary Policy except insofar as express provision for any

 matter is set out in this excess policy, and only insofar as necessary, the terms,

 conditions and limitations set out in this excess policy will prevail over the

 corresponding terms, conditions and limitations of the Primary Policy.”

       3.     New York Exclusive Jurisdiction and Choice of Law

       Underwriters’ Excess Policies each include in the Risk Details identical

 “Choice of Law and Jurisdiction Provisions,” which provide: “Unless stated herein

 to the contrary, this (Re)Insurance shall be governed by and construed in accordance

 with the laws of US New York and the exclusive jurisdiction of the US New York

 courts.”

       Section 7 of Underwriters’ Excess Policies include identical “Governing Law

 and Jurisdiction” clauses, which provide as follows:



 3
  Aspen has a $2,000,000 share of the limit of the Sixth Excess Policy, and Forge
 has a $1,800,000 share of the limit of the Sixth Excess Policy.
                                            5

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       The constructions, interpretation and meaning of the terms, exclusions
       limitations and conditions of this excess policy shall be determined in
       accordance with the laws of the state or country specified in the RISK
       DETAILS of this policy, and any dispute arising hereunder will be
       subject to the exclusive jurisdiction of the courts of the state or country
       specified in the RISK DETAILS of this policy.

       Pursuant to the Choice of Law and Jurisdiction Provisions and the Governing

 Law and Jurisdiction Clauses (collectively, the “Forum Selection Clauses”), New

 York courts have exclusive jurisdiction to hear any dispute arising under

 Underwriters’ Excess Policies and New York law applies.4

       4.    The Single Action Clause

       Section 8, Dispute Resolution, of Underwriters’ Excess Policies provides:

       8.1   In the event that a dispute arises between the Insurer and the
             Insured under this excess policy, the provisions of the Primary
             Policy are incorporated into this excess policy for the purposes
             of determining the dispute resolution procedures applicable to
             this excess policy.

       8.2   In the event that a dispute arises between the Insurer and the
             Insured under this excess policy in relation to matters that are
             also the subject of a dispute between the Insured and the insurers
             of any Underlying Insurance then those disputes shall be heard
             together in the same court or arbitration proceedings.

       Section 8.1 of Underwriters’ Excess Policies is not applicable as the Primary

 Policy does not have provisions for dispute resolution procedures.


 4
   Similarly, the policy for the Fourth Excess Layer of the Underlying Insurance
 includes identical “Choice of Law & Jurisdiction” and “Governing Law and
 Jurisdiction” clauses providing that New York law applies and New York courts
 have exclusive jurisdiction over any coverage dispute. (Complaint, Exhibit J, at 2.)
                                           6

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       Section 8.2 of Underwriters’ Excess Policies (the “Single Action Clause”)

 provides that disputes with the Underlying Insurers and Underwriters shall be

 brought in the same court, which must be in New York pursuant to the Forum

 Selection Clauses.

 B.    The Martinek Action

       On August 30, 2019, Jan Martinek, individually and on behalf of a purported

 plaintiff class consisting of other persons who purchased AmTrust’s six series of

 preferred stock, filed the Martinek Action in the U.S. District Court for the Southern

 District of New York. (Compl. ¶ 49.)

       The Martinek Action was the latest in a series of lawsuits brought against

 AmTrust and its directors and officers arising out of the alleged efforts of the

 Karfunkel-Zyskind Family, which was the Company’s majority controlling

 shareholder, and related entities to exercise control over AmTrust to benefit

 themselves and their affiliates through a November 28, 2018 take private transaction

 (the “Take Private Transaction”). According to the plaintiffs, AmTrust and its

 management made misrepresentations in proxy statements, merger documents and

 other public filings and statements that AmTrust’s preferred stock and notes would

 remain publicly listed after the Take Private Transaction. (Compl. ¶ 49.)

       According to court filings, AmTrust has reached a class wide settlement in the

 Martinek Action, but the settlement has not yet been finalized or approved by the


                                           7

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 court. (See Martinek v. AmTrust Financial Services, Inc., 1:19-cv-08030, Doc. No.

 87 (S.D.N.Y., April 20, 2022).)

 C.    The Coverage Dispute

       AmTrust alleges that on January 11, 2022, it held a conference call with its

 insurers to discuss the Martinek Action. During that call, AmTrust allegedly asked

 Underwriters and other insurers to accept their coverage obligations and provide

 settlement authority for the Martinek Action. (Compl. ¶¶ 54-56.)

       By letter dated February 10, 2022, Underwriters explained that coverage is

 not available for the Martinek Action under Underwriters’ Excess Policies as the

 Claim was not first made during the Policy Period and coverage would otherwise be

 precluded by a number of applicable exclusions. (Compl. ¶ 57.) Underwriters also

 reserved their rights generally and with respect to certain potential coverage issues

 discussed in the letter, including whether the Underlying Insurance was fully

 exhausted. (Compl. ¶ 57.)

       On March 11, 2022, AmTrust challenged Underwriters’ denial of coverage.

 (Compl. ¶ 68.) On April 1, 2022, AmTrust filed this coverage action in Delaware

 Superior Court, despite the Forum Selection Clauses in Underwriters’ Excess

 Policies establishing that New York courts have exclusive jurisdiction over this

 dispute.




                                          8

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                                   ARGUMENT

 A.    Standard of Review

       In Delaware, motions to dismiss based on a forum selection clause are brought

 under Superior Court Civil Rule 12(b)(3), which governs improper venue. MackRev

 Worldwide, Inc., 2020 WL 7774604, at *6 (Del. Dec. 30, 2020); Courtney v. Intuitive

 Surgical, Inc., 2015 WL 6671558, at *1 (Del. Super. Ct. Oct. 30, 2015). In

 determining a motion to dismiss for improper venue, the Court may consider

 extrinsic evidence from the outset, and may grant dismissal before the

 commencement of discovery on the basis of affidavits and documentary evidence in

 the record. Id.

       The Court should “give effect to the terms of private agreements to resolve

 disputes in a designated judicial forum out of respect for the parties’ contractual

 designation.” Loveman v. Nusmile, Inc., 2009 WL 847655, *2 (Del. Super. Mar. 31,

 2009) (citation omitted).

 B.    This Action Must Be Brought in a New York Court

       1.     The Forum Selection Clauses are Enforceable

       It is well-established in Delaware that a valid forum selection clause “must be

 enforced.” Nat’l Indus. Grp. (Holding) v. Carlyle Inv. Mgmt. L.L.C., 67 A.3d 373,

 381 (Del. 2013) (citing D.H. Blair & Co., Inc. v. Gottdiener, 462 F.3d 95, 103 (2d




                                          9

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 Cir. 2006) (“[A] forum-selection clause will be upheld unless the clause was

 obtained through fraud or overreaching.”)).

       The Delaware Supreme Court has explained that “where contracting parties

 have expressly agreed upon a legally enforceable forum selection clause, a court

 should honor the parties’ contract and enforce the clause.” Ingres Corp. v. CA, Inc.,

 8 A.3d 1143, 1145 (Del. 2010) (citing M/S Bremen v. Zapata Off–Shore Co., 407

 U.S. 1, 15 (1972)). The Delaware Supreme Court has also held that “[f]orum

 selection clauses are presumptively valid and should be specifically enforced”

 through an injunction. Id. at 1146.

       A party may challenge a forum selection clause by clearly showing that

 “enforcement would be unreasonable or unjust, or that the clause is invalid for such

 reasons as fraud and overreaching.” Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v.

 Trustwave Holdings, Inc., 2016 WL 2354621, at *4 (Del. Super. Ct. May 3, 2016)

 (citing Ingres Corp., 8 A.3d at 1146). A forum selection clause is unreasonable only

 when its enforcement would seriously impair a plaintiff’s ability to pursue its cause

 of action. Id. Mere inconvenience or additional expense is not the test of

 unreasonableness. See Loveman, 2009 WL 847655, at *3.

       Here, AmTrust cannot meet its heavy burden to demonstrate that the Forum

 Selection Clauses are unenforceable as they were procured fraudulently or are

 otherwise unreasonable. The Forum Selection Clauses in no way impair AmTrust’s


                                          10

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 ability to pursue its claim, particularly in view of the fact that AmTrust’s

 headquarters are located in New York and the underlying Martinek Action is

 pending in New York. See Id. (explaining the high burden for showing a forum

 selection clause is unreasonable). Moreover, as a sophisticated commercial insurer,

 AmTrust cannot claim that the Forum Selection Clauses were procured fraudulently

 or are otherwise unreasonable.

       2.     The Forum Selection Clauses Are Mandatory And Enforceable
              Under Applicable New York Law

       Delaware courts will grant a motion to dismiss based upon a forum selection

 clause where, as here, the parties “use express language clearly indicating that the

 forum selection clause excludes all other courts before which those parties could

 otherwise properly bring an action.” Eisenbud v. Omnitech Corp. Solutions, Inc.,

 1996 WL 162245, *1 (Del. Ch. Mar. 21, 1996). When a contract contains a forum

 selection clause, “Delaware courts will interpret the forum selection clause in

 accordance with the law chosen to govern the contract.” Ashall Homes Ltd. v. ROK

 Ent. Grp. Inc., 992 A.2d 1239, 1245 (Del. Ch. 2010).

       In addition, Delaware courts will honor contractually-designed choice-of-law

 provisions so long as the jurisdiction selected has some material relationship to the

 transaction. J.S. Alberici Const. Co. v. Mid-W. Conveyor Co., 750 A.2d 518, 520

 (Del. 2000). Delaware courts routinely enforce choice-of-law provisions in

 insurance policies. See Masonic Home of Delaware, Inc. v. Certain Underwriters at
                                          11

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 Lloyd’s London, 2013 WL 3006909, at *3 (Del. Super. Ct. May 22, 2013), aff’d, 80

 A.3d 960 (Del. 2013) (enforcing New York choice-of-law provision in insurance

 policy).

       Here, there is no question that New York has a material relationship to the

 transaction, as AmTrust has its headquarters in New York, Underwriters’ Excess

 Policies were issued to AmTrust in New York, and the Martinek Action for which

 AmTrust seeks coverage was filed in New York. (See Compl. ¶¶ 24, 49; Compl.

 Exhibit L at 1.) Thus, this Court should enforce the Forum Selection Clauses of

 Underwriters’ Excess Policies pursuant to New York law.

       In New York, “parties to a contract may freely select a forum which will

 resolve any disputes over the interpretation or performance of the contract. Such

 clauses are prima facie valid and enforceable unless shown by the resisting party to

 be unreasonable[.]” Brooke Grp. Ltd. v. JCH Syndicate 488, 663 N.E.2d 635, 637

 (N.Y. 1996) (citing M/S Bremen, 407 U.S. at 15); see also Koob v. IDS Fin. Servs.,

 Inc., 213 A.D.2d 26, 33 (N.Y. 4th Dep’t 1995) (“It is the policy of the courts of this

 State to enforce contractual provisions for choice of law and selection of a forum for

 litigation.”) (citing Matter of Smith Barney v. Luckie, 647 N.E.2d 1308, 1312 (N.Y.

 1995)).

       New York courts enforce mandatory jurisdiction clauses because they help

 “avoid litigation over personal jurisdiction and disputes over the application of the


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 long-arm statute[.]” National Union Fire Insurance Company of Pittsburgh P.A. v.

 Williams, 223 A.D.2d 395, 397–398 (N.Y. 1st Dep’t 1996). As noted above,

 AmTrust has not provided any basis for overturning this presumption of validity or

 suggested in any way that the Forum Selection Clauses are unreasonable or

 somehow impair its rights. See Stein v. United Wind, Inc., 2021 WL 479878 at *2

 (Sup. Ct. Feb. 8, 2021) (rejecting plaintiff’s arguments that a forum selection clause

 is not enforceable because of “general allegations” of fraud or a lack of connection

 to the chosen state).

       When addressing whether a forum selection provision requires dismissal of

 an action filed in a jurisdiction other than the chosen jurisdiction, New York courts

 consider whether the forum selection provision applies to the claims at issue, and

 whether it is “permissive or mandatory.” See Encompass Aviation, LLC v. Surf Air

 Inc., 2018 WL 6713138, at *7 (S.D.N.Y. Nov. 30, 2018) (“The first order of business

 is to decide which forum selection clause applies to Plaintiff’s claims.”); Fear &

 Fear, Inc. v. N.I.I. Brokerage, L.L.C., 50 A.D.3d 185, 187 (N.Y. 4th Dep’t 2008)

 (explaining that a forum selection clause must be mandatory to preclude litigation in

 other jurisdictions).

       Here, the Forum Selection Clauses plainly provide that New York courts shall

 have exclusive jurisdiction to hear any dispute arising under Underwriters’ Excess

 Policies (“this (Re)Insurance shall be governed by and construed in accordance with


                                          13

                                                                           Exhibit - Page 62
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 the laws of US New York and the exclusive jurisdiction of the US New York courts”)

 (emphasis added). Pursuant to applicable New York law, this contractual language

 mandates that any action regarding coverage under Underwriters’ Excess Policy be

 brought in a New York court, and not any other jurisdiction. See Puleo v. Shore View

 Ctr. for Rehab. & Health Care, 132 A.D.3d 651, 652 (N.Y. 2nd Dep’t 2015)

 (enforcing mandatory forum selection clause providing “exclusive jurisdiction of the

 courts of the State of New York”); Sydney Attractions Grp. Pty Ltd. v. Schulman, 74

 A.D.3d 476, 476 (N.Y. 1st Dep’t 2010) (finding language that “parties submit to the

 exclusive jurisdiction” of a particular court created an enforceable mandatory forum

 selection clause). Therefore, the Forum Selection Clauses are mandatory, not

 permissive.

       Further, the Forum Selection Clauses clearly apply to AmTrust’s claims

 against Underwriters in this action. The Forum Selection Clauses apply to “any

 dispute arising” under Underwriters’ Excess Policies, and AmTrust’s Complaint

 asserts two causes of action against Underwriters for breach of contract and

 declaratory judgment regarding coverage under Underwriters’ Excess Policies. Both

 causes of action expressly seek to enforce AmTrust’s claimed rights under

 Underwriters’ Excess Policies, and the dispute with Underwriters therefore “arises”

 under Underwriters’ Excess Policies. Stein, 2021 WL 479878 at *2 (“The word ‘any’

 is all-encompassing language, indicating the parties’ belief that all actions regarding


                                           14

                                                                            Exhibit - Page 63
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 their relationship will be governed by the forum-selection clause.”); Triple Z Postal

 Servs., Inc. v. United Parcel Serv., Inc., 2006 WL 3393259 at * 6 (N.Y. Sup. Ct.

 November 24, 2006) (finding “arising under” language in forum selection clause

 broad enough to encompass all claims related to the contract).

       Therefore, the Forum Selection Clauses are valid and must be enforced under

 applicable New York law. See Milmar Food Grp. II, LLC v. Applied Underwriters,

 Inc., 85 N.Y.S.3d 347, 354-355 (Sup. Ct. 2018).5

 C.    The Single Action Clause Does Not Override the Forum Selection Clauses

       In the Complaint, AmTrust does not mention or cite to the Forum Selection

 Clauses. Instead, it attempts to avoid its binding agreement that New York courts

 have exclusive jurisdiction over any dispute arising from coverage under

 Underwriters’ Excess Policies by asserting that Underwriters somehow consented to

 the jurisdiction of Delaware courts in the Single Action Clause. (Compl. ¶ 35.) In

 support of this position, AmTrust names one of the Underlying Insurers as a



 5
   Additionally, even if Delaware law applied to Underwriters’ Excess Policies, the
 result would be the same. See Ashall Homes, 992 A.2d at 1241 (“Both of the
 investment agreements contain unequivocal language mandating exclusive
 jurisdiction in the courts of England. Under well-settled precedent, this court must
 honor such clear contractual expressions of intent to select a particular forum.”);
 Troy Corp. v. Schoon, 2007 WL 949441, at *4 (Del. Ch. Mar. 26, 2007) (finding
 forum selection clause that provided for “exclusive jurisdiction” in New York was
 mandatory and enforceable).


                                          15

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 Defendant and seeks declaratory relief regarding Underwriters’ reservation of rights

 regarding whether the Underlying Insurance has been fully exhausted. According to

 AmTrust, the Single Action Clause allows it to side-step the Forum Selection

 Clauses and bring an action against Underwriters in a court outside of New York if

 it simply names any of the Underlying Insurers and Underwriters in the same action.

 This is plainly incorrect.

       The Single Action Clause does not modify the Forum Selection Clauses or

 otherwise address which courts have jurisdiction over a dispute arising under

 Underwriters’ Excess Policies. In any event, under applicable New York law, forum

 selection clauses are favored and read broadly, and a provision modifying the

 permissible jurisdiction of a policy must do so clearly. See Stein, 2021 WL 479878

 at *2 (“Public policy favors enforcement of forum-selection clauses and supports a

 broad reading of those clauses.”) (citing Triple Z Postal Servs., Inc., 2006 WL

 3393259 at * 6); see also Tourtellot v. Harza Architects, 55 A.D.3d 1096, 1099 (N.Y.

 1st Dep’t 2008) (requiring “compelling and countervailing reason for excusing

 enforcement of this bargained-for forum selection clause”).

       New York law does not allow AmTrust to defeat the clear and broad Forum

 Selection Clauses by pointing to another provision unrelated to jurisdiction. The

 Single Action Clause does not revoke the exclusive jurisdiction of New York courts,

 and merely provides that, if the Insured has a dispute with both Underwriters and the


                                          16

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 Underlying Insurers, the disputes shall be heard together in one proceeding. Nothing

 in the Single Action Clause addresses which courts shall have jurisdiction over the

 disputes, only that the proceedings shall be in the same forum. When read in

 conjunction with the Forum Selection Clauses, the Single Action Clause requires

 that any action against Underwriters and the Underlying Insurers must be brought in

 a single action before a New York court.

       AmTrust’s interpretation of the Single Action Clause would essentially read

 the Forum Selection Clauses out of Underwriters’ Excess Policies by allowing

 AmTrust to bring suit under those policies in any jurisdiction where it brings a suit

 naming any of the Underlying Insurers. This is not so. Under black letter law, when

 interpreting a contract, courts cannot render any portion of the agreement

 meaningless. See Beal Sav. Bank v. Sommer, 324, 865 N.E.2d 1210, 1213 (N.Y.

 2007); God's Battalion of Prayer Pentecostal Church, Inc. v. Miele Assocs., LLP,

 845 N.E.2d 1265, 1267 (N.Y. 2006). For this reason, a contract must be read “as a

 whole,” and courts must interpret “every part . . . with reference to the whole.”

 Westmoreland Coal Co. v. Entech, Inc., 794 N.E.2d 667, 670 (N.Y. 2003) (citation

 omitted).   The Forum Selection Clauses and the Single Action Clause of

 Underwriters’ Excess Policies can be given their full meaning only if New York

 courts have exclusive jurisdiction over any dispute arising under Underwriters’




                                            17

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 Excess Policies, including an action in which AmTrust names Underwriters and

 Underlying Insurers.

       This is further bolstered by the terms of the Underlying Insurance. Notably,

 Markel, which issued a policy providing coverage below Underwriters’ Excess

 Policies, issued a policy that contains a mandatory Bermuda arbitration clause. (See

 Complaint, Exhibit H, at § II.E.1.) AmTrust apparently recognized the Bermuda

 arbitration provision of Markel’s policy and voluntarily dismissed Markel from this

 action as it must pursue its claim against Markel in Bermuda. (See May 9, 2022,

 Notice of Voluntary Dismissal of Defendant Markel Bermuda Limited.) Applying

 AmTrust’s illogical interpretation of the Single Action Clause would require it to

 pursue its claims against Underwriters in a Bermuda arbitration, which would violate

 the Forum Selection Clauses of Underwriters’ Excess Policies. Further, the

 Underlying Insurance policy issued by Hiscox (Complaint, Exhibit J, at 2) contains

 New York choice-of-law and exclusive jurisdiction provisions identical to the Forum

 Selection Clauses in Underwriters’ Excess Policies.

       To the extent that AmTrust argues that the Single Action Clause allows it to

 bring an action against the Excess Insurers in Delaware to avoid piecemeal litigation,

 this is belied by the actual policies at issue. AmTrust has already voluntarily

 dismissed Markel from this action due to the Bermuda arbitration provision in the

 Markel policy and despite the Single Action Clause. Additionally, certain of the


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 Underlying Insurance also requires AmTrust to bring any such action in New York,

 and nothing precludes AmTrust from bringing a single action against the remaining

 Defendants in New York.6

                                  CONCLUSION

       For the foregoing reasons, pursuant to Superior Court Rule 12(b)(3),

 Underwriters respectfully request that this Court dismiss this action as to

 Underwriters pursuant to the Forum Selection Clauses of Underwriters’ Excess

 Policies.

 Dated: June 20, 2022                     PHILLIPS, MCLAUGHLIN &
                                          HALL, P.A.

                                          /s/ John C. Phillips, Jr.
                                          John C. Phillips, Jr. (No. 110)
                                          David A. Bilson (No. 4986)
                                          1200 N. Broom Street
                                          Wilmington, DE 19806
                                          302-655-4200
                                          jcp@pmhdelaw.com
                                          dab@pmhdelaw.com

                                          Of Counsel:

                                          Edward J. Kirk
                                          Scott W. Schwartz
                                          CLYDE & CO US LLP
                                          The Chrysler Building

 6
  Delaware courts would reach the same result. The Supreme Court of Delaware has
 specifically noted that where there is a group of contracts, some of which have a
 forum selection clause and some of which do not, the agreements “that did not
 contain a forum selection clause did not supersede those that did.” Ingres Corp., 8
 A.3d at 1146 (Del. 2010) (enforcing choice-of-law provision).
                                         19

                                                                            Exhibit - Page 68
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                                        405 Lexington Avenue, 16th Floor
                                        New York, NY 10174
                                        Tel: 212-710-3900
                                        Fax: 212-710-3950

                                        Attorneys    for Defendants        Forge
                                        Underwriting Limited and           Aspen
                                        Syndicate 4711




                                       20

                                                                    Exhibit - Page 69
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 71 of 188 PageID #: 1132
                                                    EFiled: Jun 20 2022 04:40PM EDT
                                                    Transaction ID 67741990
                                                    Case No. N22C-04-010 MMJ CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
 _________________________________
                                   )
   AMTRUST FINANCIAL               )
   SERVICES, INC.,                 )
                                   )
                    Plaintiff,     )
                                   ) C.A. No. N22C-04-010 MMJ CCLD
        v.                         )
                                   )
   FORGE UNDERWRITING              )
   LIMITED, et al.,                )
                                   )
                    Defendants.    )
                                   )

                              [PROPOSED] ORDER

       AND NOW, this ____ day of _______________, 2022, upon consideration

 of Defendants Forge Underwriting Limited and Aspen Syndicate 4711’s Motion to

 Dismiss the Complaint and any response thereto,

       It hereby is ORDERED AND DECREED that the Complaint is dismissed as

 to Defendants Forge Underwriting Limited and Aspen Syndicate 4711 and these

 defendants are dismissed from this action without prejudice.




                                             The Hon. Mary M. Johnston




                                                                      Exhibit - Page 70
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                                                  EFiled: Jun 20 2022 04:40PM EDT
                                                  Transaction ID 67741990
                                                  Case No. N22C-04-010 MMJ CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
 _________________________________
                                   )
   AMTRUST FINANCIAL               )
   SERVICES, INC.,                 )
                                   )
                    Plaintiff,     )
                                   ) C.A. No. N22C-04-010 MMJ CCLD
        v.                         )
                                   )
   FORGE UNDERWRITING              )
   LIMITED, et al.,                )
                                   )
                    Defendants.    )
                                   )

                             NOTICE OF MOTION

 TO: Plaintiff, All Counsel of Record, and the Court:

       PLEASE TAKE NOTICE that Defendants Forge Underwriting Limited and

 Aspen Syndicate 4711’s Motion to Dismiss the Complaint will be presented at the

 convenience of the Court.


  OF COUNSEL:                            PHILLIPS, MCLAUGHLIN & HALL, P.A.

  Edward J. Kirk                         /s/ John C. Phillips, Jr.
  Scott W. Schwartz                      John C. Phillips, Jr. (#110)
  CLYDE & CO US LLP                      David A. Bilson (#4986)
  The Chrysler Building                  1200 N. Broom Street
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                                         dab@pmhdelaw.com

  Dated: June 20, 2022                   Attorneys for Defendants            Forge
                                         Underwriting Limited and            Aspen
                                         Syndicate 4711




                                                                        Exhibit - Page 71
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 73 of 188 PageID #: 1134
                                                   EFiled: Jun 20 2022 04:40PM EDT
                                                   Transaction ID 67741990
                                                   Case No. N22C-04-010 MMJ CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
 _________________________________
                                   )
   AMTRUST FINANCIAL               )
   SERVICES, INC.,                 )
                                   )
                    Plaintiff,     )
                                   ) C.A. No. N22C-04-010 MMJ CCLD
        v.                         )
                                   )
   FORGE UNDERWRITING              )
   LIMITED, et al.,                )
                                   )
                    Defendants.    )
                                   )

  CERTIFICATE OF COMPLIANCE WITH TYPEFACE REQUIREMENT
               AND TYPE-VOLUME LIMITATION

       1.    This document complies with the typeface requirement of Superior

 Court Rule 107(b) because it has been prepared in Times New Roman 14-point

 typeface using Microsoft Office Professional Plus 2019.

       2.    This document complies with the type-volume limitation of Superior

 Court Rule 107(h)(l) because it contains 4,169 words, which were counted by

 Microsoft Office Professional Plus 2019.




                                                                       Exhibit - Page 72
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 74 of 188 PageID #: 1135




  OF COUNSEL:                           PHILLIPS, MCLAUGHLIN & HALL, P.A.

  Edward J. Kirk                        /s/ John C. Phillips, Jr.
  Scott W. Schwartz                     John C. Phillips, Jr. (#110)
  CLYDE & CO US LLP                     David A. Bilson (#4986)
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  405 Lexington Avenue, 16th Floor      Wilmington, DE 19806
  New York, NY 10174                    302-655-4200
  212-710-3900                          jcp@pmhdelaw.com
                                        dab@pmhdelaw.com

  Dated: June 20, 2022                  Attorneys for Defendants            Forge
                                        Underwriting Limited and            Aspen
                                        Syndicate 4711




                                                                       Exhibit - Page 73
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 75 of 188 PageID #: 1136
                                                   EFiled: Jun 20 2022 04:40PM EDT
                                                   Transaction ID 67741990
                                                   Case No. N22C-04-010 MMJ CCLD
                         CERTIFICATE OF SERVICE

      I hereby certify that on June 20, 2022, I caused a copy of the foregoing
 document to be served on the following counsel of record via File&ServeXpress:

                            BERGER HARRIS LLP
                               David J. Baldwin
                              Peter C. McGivney
                              Zachary J. Schnapp
                        1105 N. Market Street, 11th Floor
                            Wilmington, DE 19801

                   SMITH, KATZENSTEIN & JENKINS LLP
                           Robert J. Katzenstein
                              Julie M. O’Dell
                        1000 West Street, Suite 1501
                           Wilmington, DE 19899



                                            /s/ John C. Phillips, Jr.
                                            John C. Phillips, Jr.




                                                                        Exhibit - Page 74
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 76 of 188 PageID #: 1137
                                                    EFiled: Jun 22 2022 08:34AM EDT
                                                    Transaction ID 67748001
                                                    Case No. N22C-04-010 MMJ CCLD




                                   June 22, 2022

 VIA E-FILE & HAND DELIVERY
 The Honorable Mary M. Johnston
 Superior Court of the State of Delaware
 Leonard L. Williams Justice Center
 500 North King Street
 Wilmington, DE 19801

             Re:   Amtrust Financial Services, Inc. v. Forge Underwriting
                   Limited, et al.
                   C.A. No. N22C-04-010 MMJ CCLD

 Dear Judge Johnston:

        Enclosed please find two (2) courtesy copies of Defendants Forge
 Underwriting Limited and Aspen Syndicate 4711’s Motion to Dismiss the
 Complaint, Opening Brief in support, Proposed Order, Notice of Motion,
 Certificate of Compliance and Certificate of Service [Transaction ID 67741990].

       I am available should the Court have any questions.

                                             Respectfully

                                             /s/ John C. Phillips, Jr.

                                             John C. Phillips, Jr. (#110)

 cc:   All counsel of record (via File&Serve)




                                                                            Exhibit - Page 75
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 77 of 188 PageID #: 1138
                                                      EFiled: Jun 29 2022 03:06PM EDT
                                                      Transaction ID 67777038
                                                      Case No. N22C-04-010 MMJ CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
 _________________________________
                                   )
   AMTRUST FINANCIAL               )
   SERVICES, INC.,                 )
                                   )
                    Plaintiff,     )
                                   ) C.A. No. N22C-04-010 MMJ CCLD
        v.                         )
                                   )
   FORGE UNDERWRITING              )
   LIMITED, et al.,                )
                                   )
                    Defendants.    )
                                   )

                 STIPULATION AND [PROPOSED] ORDER
              GOVERNING BRIEFING ON MOTION TO DISMISS

       WHEREAS, Defendants Forge Underwriting Limited and Aspen Syndicate

 4711 (together, “Underwriters”) filed a Motion to Dismiss the Complaint as

 against them (Trans. ID 67741990) on June 20, 2022;

       WHEREAS, Underwriters and Plaintiff have agreed upon the schedule set

 forth below to complete briefing on Underwriters’ Motion to Dismiss the

 Complaint;

       IT IS HEREBY STIPULATED AND AGREED, by the parties hereto,

 subject to the approval of the Court, that:

       1.     Plaintiffs shall file their Answering Brief in Opposition to

 Underwriters’ Motion to Dismiss the Complaint on or before July 22, 2022;

       2.     Underwriters shall file their Reply Brief in Support of their Motion to

 Dismiss the Complaint on or before August 12, 2022; and




                                                                             Exhibit - Page 76
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       3.     The Court will hear oral argument on Underwriters’ Motion to

 Dismiss the Complaint on September 14, 2022 at 11:30 a.m.



 Dated: June 29, 2022

  BERGER HARRIS LLP                       PHILLIPS MCLAUGHLIN & HALL, P.A.

  /s/ David J. Baldwin                    /s/ John C. Phillips, Jr.
  David J. Baldwin (#1010)                John C. Phillips, Jr. (#110)
  Peter C. McGivney (#5779)               David A. Bilson (#4986)
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  Wilmington, DE 19801                    (302) 655-4200
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  dbaldwin@bergerharris.com               dab@pmhdelaw.com
  pmcgivney@bergerharris.com
  zschnapp@bergerharris.com               Attorneys for Defendants Forge
                                          Underwriting Limited & Aspen
  Attorneys for Plaintiff                 Syndicate 4711




       IT IS SO ORDERED this           day of                            , 2022.



                                                                                    , J.




                                                                          Exhibit - Page 77
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 79 of 188 PageID #: 1140
                                             EFiled: Jul 06 2022 02:39PM EDT
                                             Transaction ID 67795185
                                             Case No. N22C-04-010 MMJ CCLD
              IN THE SUPERIOR COURT OF THE STATE OF DELAWARE



 AMTRUST FINANCIAL SERVICES,
 INC.,

               Plaintiffs,

               v.

 FORGE UNDERWRITING LIMITED,                 C.A. No. N22C-04-010 MMJ CCLD
 ASPEN SYNIDCATE 4711,
 MARKEL BERMUDA LIMITED,
 ALLIANZ GLOBAL US RISKS
 INSURANCE COMPANY, ARCH
 INSURANCE COMPANY,
 IRONSIDES INDEMNITY, INC.
 and U.S. SPECIALITY INSURANCE
 COMPANY,

               Defendants.


                ALLIANZ GLOBAL US RISKS INSURANCE COMPANY’S
                    ANSWER AND AFFIRMATIVE DEFENSES TO
                  AMTRUST FINANCIAL SERVICES’S COMPLAINT


        Defendant, ALLIANZ GLOBAL US RISKS INSURANCE COMPANY (“ALLIANZ”),

 by and through its undersigned counsel, hereby files the following Answer and Affirmative

 Defenses to AmTrust Financial Services’ Complaint, dated April 1, 2022, and states as follows:

                                 NATURE OF THE ACTION

        1.     ALLIANZ admits that it issued policy number USF00237518 and policy number

 USF00238018 (the “Allianz Run-Off Policies”) to AmTrust, effective November 29, 2018 through

 November 29, 2024. To the extent paragraph one asserts legal conclusions, ALLIANZ denies such

 conclusions and denies any remaining allegations contained in paragraph 1.




                                                                                    Exhibit - Page 78
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        2.      ALLIANZ admits that there is a pending securities class action called Martinek v.

 AmTrust Financial Services, Inc. et al. ALLIANZ denies any remaining allegations contained in

 paragraph 2.

        3.      ALLIANZ admits that ALLIANZ Run-Off Policies apply excess of and follow

 form to the underlying policy issued by Indian Harbor Insurance Company (“XL”), numbered

 US00080794DO17A (the “XL Policy”). Allianz states that the XL Policy provides the best

 evidence of the terms contained therein. ALLIANZ denies any remaining allegations contained in

 paragraph 3.

        4.      ALLIANZ admits that ALLIANZ Run-Off Policies are each linked to a policy

 issued for the period October 21, 2017 to November 29, 2018, each of which are part of a tower

 of policies issued for that period (the “2017-2018 Tower”). ALLIANZ admits that the policies that

 make up the 2017-2018 Tower cover claims made during the period October 21, 2017 to November

 29, 2018. ALLIANZ further admits that the ALLIANZ Run-Off Policies provide certain coverages

 to claims made during the November 29, 2018 through November 18, 2024 period. ALLIANZ

 further admits that the ALLIANZ Run-off Policies each contain a tie-in provision that link the

 ALLIANZ Run-off Policies to corresponding 2017-2018 policies such that a payment under a

 corresponding 2017-2018 policy, or the release of a corresponding 2017-2018 policy which

 exhausts the 2017-2018 corresponding policy entirely, erodes the limit of liability of the

 corresponding ALLIANZ run-off policy by the amount of the payment, or in the case of a policy

 release, exhausts the corresponding ALLIANZ run-off policy entirely. ALLIANZ denies any

 remaining allegations contained in paragraph 4.

        5.      ALLIANZ admits the accuracy of the contents of the chart presented in paragraph

 5.




                                                                                     Exhibit - Page 79
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        6.       ALLIANZ admits that AmTrust paid it premiums in purchasing certain coverage

 under the ALLIANZ Run-Off Policies. ALLIANZ denies any remaining allegations contained in

 paragraph 6.

        7.       ALLIANZ denies any legal conclusions expressed within paragraph 7. ALLIANZ

 denies any remaining allegations contained in paragraph 7.

        8.       ALLIANZ admits that the Martinek Action was commenced on August 30, 2019

 against AmTrust. ALLIANZ admits that the Martinek Action was filed and reported to ALLIANZ

 on March 3, 2021. Allianz denies any legal conclusions contained within paragraph 8. ALLIANZ

 is without sufficient information or knowledge to form a belief as to the truth of the remaining

 allegations contained in paragraph 8.

        9.       ALLIANZ admits the allegations contained in paragraph 9.

        10.      ALLIANZ admits that four of the insurers in the 2017-2018 Tower – XL, Zurich

 American Insurance Company (“Zurich”), AXIS Insurance Company (“Axis”), and Hiscox – paid

 all or substantially all of the amounts claimed by AmTrust in connection with AmTrust’s $40

 million settlement of the Consolidated Stockholder Litigation. ALLIANZ admits that AmTrust

 filled in the amounts owed under the settlement not paid by XL, Zurich, Axis and Hiscox and

 provided the settling insurers with full policy releases. ALLIANZ admits that by operation of the

 linked limit provisions in the connected run-off policies, the corresponding run-off policies were

 exhausted, including the two ALLIANZ Run-Off Policies. ALLIANZ is without sufficient

 information or knowledge to form a belief as to the truth of the remaining allegations contained in

 paragraph 10.

        11.      ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 11.




                                                                                       Exhibit - Page 80
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        12.     ALLIANZ admits that AmTrust has demanded settlement authority and

 contribution from the $15 million xs $25 million Quota Run-off Policies subscribed to by

 Underwriters, Arch and Markel for amounts allegedly incurred in settlement of the Martinek

 action. ALLIANZ denies that AmTrust demanded settlement authority under its $5M xs $15M

 Quota Policy. ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 12.

        13.     ALLIANZ admits that AmTrust has demanded settlement authority and

 contribution from the ALLIANZ $10 million xs $40 million Quota Run-off Policy (subscribed to

 by Underwriters, Arch, Markel and Allianz) for amounts allegedly incurred in settlement of the

 Martinek action but has been informed by AmTrust that the Martinek Action was settled below

 that layer. ALLIANZ is without sufficient information or knowledge to form a belief as to the truth

 of the allegations contained in paragraph 13.

        14.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 14.

        15.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 15.

        16.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 16.

        17.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 17.

        18.     ALLIANZ admits that the underlying policies recognize fill-in payments by the

 insured for purposes of erosion and exhaustion of the ALLIANZ Run-Off Policy limits. ALLIANZ

 admits that the ALLIANZ $5 M xs $15 M Quota Policy, policy number USF00237518, was




                                                                                       Exhibit - Page 81
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 exhausted by a combination of a payment by Hiscox and AmTrust’s contribution towards

 settlement. ALLIANZ admits that Hiscox received a full released as a result of the settlement.

 ALLIANZ is without sufficient information or knowledge to form a belief as to the truth of the

 remaining allegations contained in paragraph 18.

        19.     ALLIANZ denies the allegations contained in paragraph 19.

        20.     ALLIANZ denies that it has further coverage obligations under the ALLIANZ Run-

 Off Policies. ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the remaining allegations contained in paragraph 20.

        21.     ALLIANZ denies that it has further coverage obligations under the ALLIANZ Run-

 Off Policies. ALLIANZ denies any remaining allegations contained in paragraph 21.

        22.     ALLIANZ denies the allegations contained in paragraph 22.

        23.     ALLIANZ admits that the limits of the ALLIANZ $5M xs of $15M Quota Run-

 Off Policy have been exhausted. In the alternative, if the $5M xs of $15M Quota Run-Off Policy

 is found to not be exhausted, ALLIANZ denies that is obligated to pay AmTrust any amounts

 under that policy for losses incurred in connection with the Martinek Action. ALLIANZ denies

 that it owes AmTrust any payment under the ALLIANZ $10M xs $40M Quote Run-Off Policy

 upon attachment for Loss incurred in connection with the Martinek Action. ALLIANZ denies any

 remaining allegations contained in paragraph 23.

                                             PARTIES

        24.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 24.

        25.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 25.




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        26.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 26.

        27.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 27.

        28.     ALLIANZ admits that is it an insurance company incorporated in Illinois with a

 principal place of business in Illinois. ALLIANZ admits that it conducts business in Delaware.

        29.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 29.

        30.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 30.

        31.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 31.

        32.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 32.

                                 JURISDICTION AND VENUE

        33.     The allegations contained in paragraph 32 are legal conclusions for which no

 answer is required.

        34.     The allegations contained in paragraph 33 are legal conclusions for which no

 answer is required.

        35.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 35.

        36.     The allegations contained in paragraph 36 are legal conclusions for which no

 answer is required.




                                                                                     Exhibit - Page 83
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                                   FACTUAL BACKGROUND

        A. The AmTrust D&O 2017-2018 and Run-off Coverage Programs

        37.     ALLIANZ admits that it issued policy number USF00237518 and policy number

 USF00238018 (the “ALLIANZ Run-Off Policies”) to AmTrust effective November 29, 2018

 through November 29, 2024. ALLIANZ is without sufficient information or knowledge to form a

 belief as to the truth of the remaining allegations contained in paragraph 37.

        38.     ALLIANZ states the Policy referenced is the best evidence of its contents.

        39.     ALLIANZ states the Policy referenced is the best evidence of its contents.

 ALLIANZ is without sufficient information or knowledge to form a belief as to the truth of the

 remaining allegations contained in paragraph 39.

        40.     ALLIANZ admits that the ALLIANZ Run-Off Policies follow form to the XL

 Primary Policy. ALLIANZ denies any remaining allegations contained in paragraph 40.

        41.     The statements contains in paragraph 41 require no reply from ALLIANZ.

        B. Payments Towards the $40 Million Settlement in the Consolidated Stockholder
           Litigation Exhausted the First $25 Million of Coverage Under the Run-off Tower

        42.     ALLIANZ admits that XL, Zurich, Axis and Hiscox reached a settlement with

 AmTrust in relation to the Consolidated Stockholder Litigation and that they received full policy

 releases. ALLIANZ admits that the insurer payments to AmTrust combined with the contribution

 by AmTrust totaling $40 million exhausted the XL, Zurich, Axis and Hiscox policies and thereby

 exhausted the corresponding ALLIANZ Run-Off Policy by operation of the linked limit

 provisions. ALLIANZ denies any additional allegations contained in paragraph 42.

        C.      The Martinek Action

        43.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 43.




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        44.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 44.

        45.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 45.

        46.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 46.

        47.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 47.

        48.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 48.

        49.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 49.

        50.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 50.

        D.      The Martinek Action is Covered by the Defendants’ Policies

        51.     ALLIANZ admits that the ALLIANZ Run-Off Policies follow the XL Primary

 Policy with regard to terms, conditions, and limitations of the coverage provided, except where

 otherwise stated. ALLIANZ denies any other allegations contained in paragraph 51.

        52.     ALLIANZ states the Policy referenced is the best evidence of its contents, and

 denies the contents constitute proof of the allegations in paragraph 52.

        53.     To the extent that the allegations contained in paragraph 53 are directed towards

 the ALLIANZ Run-off Policies, ALLIANZ denies such allegations. To the extent that the

 allegations are directed towards other Defendants, ALLIANZ is without sufficient information or




                                                                                     Exhibit - Page 85
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 knowledge to form a belief as to the truth of those allegations. ALLIANZ denies all other

 allegations contained in paragraph 53.

              DEFENDANTS’ IMPROPER REFUSAL TO PROVIDE COVERAGE
                   AND UNDERWRITERS’ BREACH OF CONTRACT

        54.     ALLIANZ admits that it participated in a conference call on January 11, 2022 with

 AmTrust and other insurers in which AmTrust informed the insurers that payments by certain

 insurers combined with contribution by AmTrust resulted in full release of those insurers and that

 the corresponding Run-Off Policies were thereby also exhausted. ALLIANZ denies any other

 allegations contained in paragraph 54.

        55.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 55.

        56.     ALLIANZ admits that AmTrust requested that ALLIANZ provide authority under

 its $10M xs &40M Quota Share Run-off Policy if any settlement offer by AmTrust reached that

 layer but that the Martinek Action settled below that layer.

        57.     ALLIANZ states that the referenced document is the best evidence of its contents.

        58.     ALLIANZ states that the referenced document is the best evidence of its contents.

        59.     ALLIANZ states that the referenced document is the best evidence of its contents

 and denies that the contents thereof constitute proof of the allegations contained in paragraph 59.

        60.     ALLIANZ denies the allegations contained in paragraph 60.

        61.     ALLIANZ states that the Martinek Action Complaint referenced is the best

 evidence of its contents, and denies that the contents thereof constitute proof of the allegations

 contained in paragraph 61.




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         62.     ALLIANZ states that the Martinek Action Complaint referenced is the best

 evidence of its contents, and denies that the contents thereof constitute proof of the allegations

 contained in paragraph 62. Allianz denies any other allegations contained in paragraph 62.

         63.     ALLIANZ states that the relevant Derivative Action Complaints referenced are the

 best evidence of their contents, and denies that the contents thereof constitute proof of the

 allegations contained in paragraph 63.

         64.     ALLIANZ states that the District Court Order referenced is the best evidence of its

 contents, and denies that the contents thereof constitute proof of the allegations contained in

 paragraph 64.

         65.     Paragraph 65 contains a legal conclusion for which no response is required. To the

 extent a response is required, ALLIANZ denies the allegations contained in paragraph 65.

         66.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations regarding Underwriter’s legal positions. ALLIANZ states that the Policy

 provisions referenced are the best evidence of their contents, and denies that the contents thereof

 constitute proof of the allegations contained in paragraph 66.

         67.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations regarding Underwriter’s legal positions. ALLIANZ states that the Policy

 provisions referenced are the best evidence of their contents, and denies that the contents thereof

 constitute proof of the allegations contained in paragraph 67.

         68.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 68. ALLIANZ further states that the referenced

 letter is the best evidence of its contents and denies that the contents thereof constitute proof of the

 allegations contained in paragraph 68.




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        69.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 69.

        70.     ALLIANZ denies that coverage obligations under the ALLIANZ Run-Off Policies

 have been triggered as the $5M xs $15M Quota Policy has been exhausted and the Martinek Action

 settled below the attachment point of the $10M xs $40M Quota Policy.       ALLIANZ is without

 sufficient information or knowledge to form a belief as to the truth of the remaining allegations

 contained in paragraph 70.

                         COUNT I – BREACH OF CONTRACT
           (Against Underwriters, Markel, ALLIANZ, Arch, Ironshore, and HCC)

        71.     No response is required to paragraph 71.

        72.     ALLIANZ denies the allegations contained in paragraph 72.

        73.     ALLIANZ admits that AmTrust notified Allianz. ALLIANZ denies the remaining

 allegations contained in paragraph 73.

        74.     ALLIANZ admits the allegations contained in paragraph 74.

        75.     ALLIANZ denies the allegations contained in paragraph 75.

        76.     ALLIANZ denies the allegations contained in paragraph 76.

        77.     ALLIANZ denies the allegations contained in paragraph 77.

        78.     ALLIANZ denies the allegations contained in paragraph 78.

                       COUNT II – DECLARATORY JUDGMENT
           (Against Underwriters, Markel, ALLIANZ, Arch, Ironshore, and HCC)

        79.     No response is required to paragraph 79.

        80.     ALLIANZ denies the allegations contained in paragraph 80.

        81.     ALLIANZ admits the allegations contained in paragraph 81.

        82.     ALLIANZ admits the allegations contained in paragraph 82.




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        83.     ALLIANZ admits the allegations contained in paragraph 83.

        84.     ALLIANZ admits the allegations contained in paragraph 84.

        85.     ALLIANZ admits the allegations contained in paragraph 85.

        86.     ALLIANZ admits the allegations contained in paragraph 86.

        87.     ALLIANZ admits the allegations contained in paragraph 87.

        88.     ALLIANZ admits the allegations contained in paragraph 88.

        89.     ALLIANZ admits the allegations contained in paragraph 89.

        90.     ALLIANZ admits the allegations contained in paragraph 90.

        91.     ALLIANZ is without sufficient information or knowledge to form a belief as to the

 truth of the allegations contained in paragraph 91.

        92.     The allegation contained in paragraph 92 is a legal conclusion requiring no

 response.

        93.     ALLIANZ denies that it is obligated to pay coverage under the Allianz Run-Off

 Policies. ALLIANZ denies any other allegations contained in paragraph 93.

                                   AFFIRMATIVE DEFENSES

        ALLIANZ asserts the following affirmative defenses to the Complaint:

                                FIRST AFFIRMATIVE DEFENSE

        The Complaint fails to state a claim upon which relief can be granted.

                              SECOND AFFIRMATIVE DEFENSE

        The obligations of ALLIANZ are defined, limited, and controlled by the terms and

 conditions of the relevant Policies and their endorsements, including the coverages, exclusions,

 deductibles and limits set forth therein.




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                                THIRD AFFIRMATIVE DEFENSE

         Plaintiff’s claim is limited to the terms, conditions, exclusions and limitations of the

 primary insurance policy and its endorsements issued by                       XL, Policy number

 US00080794DO17A, which the Allianz Run-Off Policies follow. The XL Primary Policy’s

 General Conditions (B) Interrelated Claims provides:

                 All Claims, Investigations, Demands, Interviews or requests to toll
                 or waive a statute of limitations arising from the same Interrelated
                 Wrongful Acts shall be deemed to constitute a single Claim,
                 Investigation Demand or Interview and shall be deemed to have
                 been made at the earliest of the time at which the earliest such Claim,
                 Investigation Demand or Interview is made or deemed to have been
                 made pursuant to Section VI(A) above.

         The Martinek Action alleges the same Interrelated Wrongful Acts as the Class Action

 which was first reported under the 2017-2018 Policies such that AmTrust must look to the carriers

 in the 2017-2018 tower for coverage for the Martinek Action.

                              FOURTH AFFIRMATIVE DEFENSE

         Plaintiff’s claim is limited to the terms, conditions, exclusions and limitations of the

 primary insurance policy and its endorsements issued by                       XL Policy, number

 US00080794DO17A, which the Allianz Run-Off Policies follow. Endorsement 6 of the XL

 Primary Policy, the Specific Investigation/Claim/Litigation/Event or Act Endorsement, provides

 in pertinent part:

                 No coverage shall be available under this Policy for any Loss in
                 connection with . . . any Claim, Interview or Investigation Demand
                 based upon, arising out of, directly or indirectly resulting from in
                 consequence of, or in any way involving an Interrelated Wrongful
                 Act . . . .

         The Martinek Action is based upon, arises out of, directly or indirectly results from in

 consequence of, or involves an Interrelated Wrongful Act.




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                                 FIFTH AFFIRMATIVE DEFENSE

         Plaintiff’s claim is limited to the terms, conditions, exclusions and limitations of the

 primary insurance policy and its endorsements issued by                     XL Policy, number

 US00080794DO17A, which the Allianz Run-Off Policies follow. Endorsement 5 of the XL

 Primary Policy provides:

                 [n]o coverage will be available for any Claim, Interview or
                 Investigation Demand based upon, arising out of, directly or
                 indirectly resulting, in consequence of or in any way involving any
                 act, error, omission, misstatement, misleading statement, neglect,
                 breach of duty or Wrongful Act committed or allegedly committed
                 prior to October 21, 2017.

         The Martinek Action is based upon or arises out of Wrongful Acts which occurred prior to

 October 21, 2017.

                                 SIXTH AFFIRMATIVE DEFENSE

         Plaintiff’s claim is limited to the terms, conditions, exclusions and limitations of the

 primary insurance policy and its endorsements issued by                     XL Policy, number

 US00080794DO17A, which the Allianz Run-Off Policies follow. Endorsement 10 of the XL

 Primary Policy, the Tie In Limits Endorsement, provides in relevant part:

                 [i]n the event that loss or damages is required to be paid under the
                 Other Policy [defined as policy #17CKP170ADAA issued by
                 Hiscox to AmTrust] and this Policy, the coverage provided under
                 this Policy shall be in excess of the coverage provided under the
                 Other Policy.

         The Allianz Policy number USF00237518 Endorsement 10, Tie In Of Limits Endorsement,

 states in relevant part that:

                 a.      [i]n the event that loss or damages is required to be paid
                         under both this Policy and the Other Policy [defined as
                         policy number 17CKP170ADAA issued by Hiscox], the
                         coverage provided under this Policy shall be in excess of the
                         coverage provided under the Other Policy in that:




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                        ii. any loss or damages required to be paid under the Other
                             Policy shall be paid fully prior to the payment of any loss
                             or damages under this Policy; and
                        iii. any payment of Loss or damages under the Other Policy
                             will proportionally reduce the maximum aggregate limit
                             of liability for all Loss or damages on account of all
                             claims for this Policy. Such proportion shall be the
                             amount paid under the Other Policy divided by the Other
                             Policy’s overall Limit of Liability.

               b.       The Insurer will have no obligation under this Policy to make
                        any payment of Loss or damages to the extent that the Other
                        Policy’s aggregate limit of liability is fully exhausted.

        The settlement of the Class Action fully depleted the limits of the Hiscox Policy and has

 thereby exhausted the limits of the corresponding Allianz policy numbered USF00237518.

                              EIGHTH AFFIRMATIVE DEFENSE

        Allianz reserves the right to assert such other or further defenses that may become apparent

 from discovery and/or investigation.

        WHEREFORE, ALLIANZ respectfully requests judgment in its favor.

                                               Respectfully Submitted,

                                                     LEWIS BRISBOIS BISGAARD
                                                      & SMITH LLP

  OF COUNSEL:
  Jeffrey Gaylord, Esquire                           By:     /s/ Francis G.X. Pileggi________
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   & SMITH LLP                                               Ciro C. Poppiti, III (No. 4905)
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  Dated: July 6, 2022                                        Attorneys for Allianz Global US Risks
                                                              Insurance Company




                                                                                           Exhibit - Page 92
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                                                                     EFiled: Jul 06 2022 02:39PM EDT
                                                                     Transaction ID 67795185
                                                                     Case No. N22C-04-010 MMJ CCLD
                                               SUPERIOR COURT
                                   CIVIL CASE INFORMATION STATEMENT (CIS)
COUNTY:             NEW CASTLE                                   CIVIL ACTION NUMBER: N22C-04-010 MMJ CCLD



Caption:                                           Civil Case Code CCLD
AMTRUST FINANCIAL SERVICES, INC.
                                                   Civil Case Type Complex Commercial Litigation Division
        Plaintiff                                                  (SEE REVERSE SIDE FOR CODE AND TYPE)

              v.                                   Mandatory Non-Binding Arbitration (MNA) __________________
FORGE UNDERWRITING LIMITED, ASPEN
SYNIDCATE 4711, MARKEL BERMUDA LIMITED,            Name and Status of Party filing document:
ALLIANZ GLOBAL US RISKS INSURANCE
COMPANY, ARCH INSURANCE COMPANY, IRONSIDE          Defendant, Allianz Global US Risks Insurance Company
INDEMNITY, INCL and U.S. SPECIALITY INSURANCE
COMPANY,                                           Document Type:(E.G.; COMPLAINT: ANSWER WITH COUNTERCLAIM)

        Defendants.                                Defendant Allianz Global US Risks Insurance Company’s Answer and
                                                   Affirmative Defenses to Amtrust Financial Services’s Complaint


                                                                  JURY DEMAND Yes         No. X



 ATTORNEY NAME (S):                                IDENTIFY ANY RELATED CASES NOW PENDING IN THE SUPERIOR COURT
                                                   BY CAPTION AND CIVIL ACTION NUMBER INCLUDING JUDGE`S INITIALS
 Francis G.X. Pileggi.
 ATTORNEY ID (S):

 Bar ID No. 2624
 FIRM NAME:                                        EXPLAIN THE RELATIONSHIP(S):

  Lewis Brisbois Bisgaard & Smith, LLP

 ADDRESS:

  500 Delaware Avenue, Suite 700

  Wilmington, DE 19801
 TELEPHONE NUMBER:                                 OTHER UNUSUAL ISSUES THAT AFFECT CASE MANAGEMENT:

  (302) 985-6000
 FAX NUMBER:

  (302) 985-6001
 E-MAIL ADDRESS(S):                                (IF ADDITIONAL SPACE IS NEEDED, PLEASE ATTACH PAGE)

   Francis.Pileggi@lewisbrisbois.com




THE PROTHONOTARY WILL NOT PROCESS THE COMPLAINT, ANSWER, OR FIRST RESPONSIVE PLEADING IN THIS MATTER
FOR SERVICE UNTIL THE CASE INFORMATION STATEMENT (CIS) IS FILED. THE FAILURE TO FILE THE CIS AND HAVE THE
PLEADING PROCESSED FOR SERVICE MAY RESULT IN THE DISMISSAL OF THE COMPLAINT OR MAY RESULT IN THE
ANSWER OR FIRST RESPONSIVE PLEADING BEING STRICKEN.




                                                                                                     Exhibit - Page 93
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                                                      EFiled: Jul 06 2022 02:39PM EDT
                                                      Transaction ID 67795185
                                                      Case No. N22C-04-010 MMJ CCLD
                          CERTIFICATE OF SERVICE

       I, Francis G.X. Pileggi, Esquire, hereby certify on this date, a true and

 correct copy of the foregoing Allianz Global US Risks Insurance Company’s

 Answer and Affirmative Defenses to Amtrust Financial Services’s Complaint, and

 Civil Case Information Statement was served via File & ServeXpress to the

 following:

 David J. Baldwin, Esquire                     John C. Phillips, Jr., Esquire
 Peter C. McGivney, Esquire                    David A. Bilson, Esquire
 Zachary J. Schnapp, Esquire                   Phillips, McLaughlin & Hall, P.A.
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 P.O. Box 410
 Wilmington, DE 19899



                                                  /s/ Francis G.X. Pileggi
                                               Francis G.X. Pileggi (Bar No. 2624)


 Dated: July 6, 2020




                                                                            Exhibit - Page 94
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                                                    EFiled: Jul 20 2022 12:22PM EDT
                                                    Transaction ID 67839710
                                                    Case No. N22C-04-010 MMJ CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

  AMTRUST FINANCIAL           :
  SERVICES, INC.,             :
                              :             C.A. No. N22C-04-010 MMJ CCLD
                  Plaintiff,  :
                              :
              v.              :
                              :
  FORGE UNDERWRITING          :
  LIMITED, ASPEN SYNDICATE    :
  4711, MARKEL BERMUDA        :
  LIMITED, ALLIANZ GLOBAL US :
  RISKS INSURANCE COMPANY, :
  ARCH INSURANCE COMPANY, :
  IRONSIDES INDEMNITY, INC.,  :
  and U.S. SPECIALTY          :
  INSURANCE COMPANY,          :
                              :
                  Defendants. :

      DEFENDANT ARCH INSURANCE COMPANY’S ANSWER AND
       AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

       Defendant Arch Insurance Company (“Arch”), by counsel, responds to the

 numbered allegations of the Complaint of Plaintiff AmTrust Financial Services, Inc.

 (“Plaintiff” or “AmTrust”), with paragraph numbers corresponding to those used in

 the Complaint. Arch denies all allegations in the Complaint except as expressly

 stated herein. The headings in this Answer correspond to the headings used in the

 Complaint and do not constitute allegations by Arch.




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                           NATURE OF THE ACTION

          1.   No response is required to paragraph 1 to the extent it purports to

 characterize the Complaint. To the extent that a response is deemed required, Arch

 denies any of the allegations set forth in paragraph 1 contending or suggesting that

 Arch has breached any obligations under Arch Essential Excess Policy, No.

 DOX1000029-00 or Arch Essential Excess Policy, No. DOX1000030-00 (together

 the “Arch Policies”) or that Plaintiffs are entitled to the relief sought in the

 Complaint.

          2.   No response is required to paragraph 2 to the extent it purports to

 characterize the Complaint. To the extent that a response is deemed required, Arch

 denies any of the allegations set forth in paragraph 2 contending or suggesting that

 Arch has breached any obligations under the Arch Policies or that Plaintiffs are

 entitled to the relief sought in the Complaint. Further answering, Arch admits that

 the Martinek Action (as defined in the Complaint) is pending in the U.S. District

 Court for the Southern District of New York.

          3.   Arch admits that the Arch Policies provide follow-form coverage in

 excess of the XL Primary Policy (as defined in the Complaint), except as otherwise

 provided in the Arch Policies. Further answering, the XL Primary Policy and Arch

 Policies speak for themselves and Arch denies any allegation inconsistent with their

 terms.

                                          2

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       4.     The allegations of paragraph 4 purport to characterize the Excess Run-

 Off Policies, which speak for themselves. Arch denies any allegation inconsistent

 with the terms of the Excess Run-Off Policies.

       5.     The allegations of paragraph 5 purport to characterize the policies in

 the 2017-2018 Tower and 2018-2024 Tower (as defined in the Complaint). The

 policies of the 2017-2018 Tower and 2018-2024 Tower speak for themselves and

 Arch denies any allegations inconsistent with their terms. Further answering, the

 Arch Policies’ Policy Periods are November 20, 2018 through November 29, 2024.

       6.     Arch admits that AmTrust paid premiums for the Arch Policies. Arch

 denies the remaining allegations of paragraph 6.

       7.     No response is required to paragraph 7 to the extent it purports to

 characterize the Complaint. To the extent that a response is deemed required, Arch

 denies any of the allegations set forth in paragraph 7 contending or suggesting that

 Arch has breached any obligations under the Arch Policies or that Plaintiffs are

 entitled to the relief sought in the Complaint.

       8.     Arch admits that the Martinek Action was commenced on August 30,

 2019 and that it was reported to Arch under the Arch Policies. The remaining

 allegations of paragraph 8 constitute legal conclusions to which no response is

 required and characterizations of filings in the Martinek Action, which speak for




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 themselves. Arch denies any allegations inconsistent with the filings in the Martinek

 Action.

       9.     Arch admits the allegations of the first sentence of paragraph 9. The

 second sentence of paragraph 9 purports to characterize filings in the Consolidated

 Stockholder Litigation, which speak for themselves. Arch denies any allegations in

 the second sentence of paragraph 9 inconsistent with the filings in the Consolidated

 Stockholder Litigation.

       10.    As to the first two sentences of paragraph 10, Arch admits that (1) XL,

 Zurich, and AXIS paid all or substantially all of the limits of liability of certain of

 their respective policies in accordance with settlement agreement with AmTrust, and

 (2) AmTrust settled the Consolidated Stockholder Litigation for $40 million. The

 third sentence of paragraph 10 constitutes a legal conclusion to which no response

 is required. To the extent that a response is deemed required, Arch denies the

 allegations of the third sentence of paragraph 10. Arch lacks knowledge or

 information sufficient to form a belief as to the truth of the remaining allegations in

 paragraph 10, and on that basis denies them.

       11.    Arch lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in paragraph 11, and on that basis denies them.

       12.    Arch lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations of the first sentence in paragraph 12, and on that basis

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  denies them. In response to the remaining allegations of paragraph 12, Arch admits

  that AmTrust has sought coverage under the Arch Policies but denies any

  implication that AmTrust is entitled to the coverage demanded.

        13.    Arch admits that AmTrust has sought coverage under the Arch Policies

  but denies any implication that AmTrust is entitled to the coverage demanded. Arch

  lacks knowledge or information sufficient to form a belief as to the truth of the

  allegations in paragraph 13, and on that basis denies them.

        14.    Arch admits that AmTrust has sought coverage under the Arch Policies

  but denies any implication that AmTrust is entitled to the coverage demanded. Arch

  lacks knowledge or information sufficient to form a belief as to the truth of the

  remaining allegations in paragraph 14, and on that basis denies them.

        15.    The allegations of paragraph 15 consist of legal conclusions to which

  no response is required and characterizations of a February 10, 2022 letter from

  Underwriters, which speaks for itself. Arch denies any allegations inconsistent with

  Underwriters’ February 10, 2022 letter. To the extent a response is deemed required

  to the legal conclusions set forth in paragraph 15, Arch denies the same.

        16.    Arch denies the allegations of paragraph 16.

        17.    The allegations of paragraph 17 purport to characterize a February 10,

  2022 letter from Underwriters, which speaks for itself. Arch denies any allegations

  inconsistent with Underwriters’ February 10, 2022 letter.

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        18.    The allegations in paragraph 18 constitute legal conclusions to which

  no response is necessary. To the extent that a response is deemed to be necessary,

  Arch denies the allegations.

        19.    The allegations in paragraph 19 constitute characterizations of

  AmTrust’s Complaint and legal conclusions to which no response is necessary. To

  the extent that a response is deemed to be necessary, Arch denies the allegations.

        20.    Arch admits that it has not accepted coverage for any settlement of the

  Martinek Action but denies that it has any obligation to do so. Arch lacks knowledge

  or information sufficient to form a belief as to the truth of the remaining allegations

  in paragraph 20, and on that basis denies them.

        21.    Arch denies the allegations of paragraph 21.

        22.    No response is required to paragraph 22 to the extent it purports to

  characterize the Complaint. To the extent that a response is deemed required, Arch

  denies any of the allegations set forth in paragraph 22 contending or suggesting that

  Arch has breached any obligations under the Arch Policies or that Plaintiffs are

  entitled to the relief sought in the Complaint.

        23.    No response is required to paragraph 23 to the extent it purports to

  characterize the Complaint. To the extent that a response is deemed required, Arch

  denies any of the allegations set forth in paragraph 23 contending or suggesting that




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  Arch has breached any obligations under the Arch Policies or that Plaintiffs are

  entitled to the relief sought in the Complaint.

                                        PARTIES

        24.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 24, and on that basis denies them.

        25.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 25, and on that basis denies them.

        26.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 26, and on that basis denies them.

        27.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 27, and on that basis denies them.

        28.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 28, and on that basis denies them.

        29.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 29, and on that basis denies them.

        30.    Arch admits that it is an insurance company incorporated in Missouri

  but denies that its principal place of business is in Missouri. Arch further admits that

  it conducts business in the State of Delaware.

        31.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 31, and on that basis denies them.

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        32.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 32, and on that basis denies them.

                             JURISDICTION AND VENUE

        33.    The allegations of paragraph 33 constitute legal conclusions to which

  no response is required.

        34.    The allegations of paragraph 34 constitute legal conclusions to which

  no response is required.

        35.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 35, and on that basis denies them.

        36.    The allegations of paragraph 36 constitute legal conclusions to which

  no response is required.

                             FACTUAL BACKGROUND

        A.     The AmTrust D&O 2017-2018 and Run-off Coverage Program.

        37.    Arch admits that it issued the Arch Policies to AmTrust for the Policy

  Period November 20, 2018 to November 29, 2024. Further answering, the D&O

  Policies speak for themselves, and Arch denies any allegations inconsistent with the

  terms of the D&O Policies.

        38.    Paragraph 38 purports to characterize the terms of the XL Primary

  Policy, which speaks for itself. Arch denies any allegations inconsistent with the

  terms of the XL Primary Policy.

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          39.   Paragraph 39 purports to characterize the terms of the XL Primary

  Policy, which speaks for itself. Arch denies any allegations inconsistent with the

  terms of the XL Primary Policy.

          40.   Arch admits that the Arch Policies generally follow form to the XL

  Primary Policy, except as otherwise stated in the Arch Policies. Further answering,

  the Arch Policies speak for themselves, and Arch denies any allegations inconsistent

  with the terms of the Arch Policies. Arch lacks knowledge or information sufficient

  to admit or deny the remaining allegations in paragraph 40, and therefore denies

  them.

          41.   Arch lacks knowledge or information sufficient to admit or deny the

  allegations in paragraph 41, and therefore denies them.

          B.    Payments Towards the $40 Million Settlement in the Consolidated
                Stockholder Litigation Exhausted the First $25 Million of Coverage
                Under the Run-Off Tower.

          42.   Arch admits the allegations of the first two sentences of paragraph 42.

  The fourth sentence of paragraph 42 constitutes a legal conclusion to which no

  response is required. To the extent that a response is deemed required, Arch denies

  the allegations of the fourth sentence of paragraph 42. Arch lacks knowledge or

  information sufficient to form a belief as to the truth of the remaining allegations in

  paragraph 42, and on that basis denies them.




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        C.     The Martinek Action.

        43.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 43, and on that basis denies them.

        44.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 44, and on that basis denies them.

        45.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 45, and on that basis denies them.

        46.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 46, and on that basis denies them.

        47.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 47, and on that basis denies them.

        48.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 48, and on that basis denies them.

        49.    Paragraph 49 purports to characterize filings in the Martinek Action,

  which speak for themselves. Arch denies any allegation inconsistent with the filings

  in the Martinek Action.

        50.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 50, and on that basis denies them.

        D.     The Martinek Action is Covered by the Defendants’ Policies.




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          51.   Arch admits that the Arch Policies generally follow form to the XL

  Primary Policy, except as otherwise stated in the Arch Policies. Further answering,

  the Arch Policies speak for themselves, and Arch denies any allegations inconsistent

  with the terms of the Arch Policies. Arch lacks knowledge or information sufficient

  to admit or deny the remaining allegations in paragraph 51, and therefore denies

  them.

          52.   Paragraph 52 purports to quote from and characterize the XL Primary

  Policy, which speaks for itself. Arch denies any allegation inconsistent with the XL

  Primary Policy.

          53.   To the extent that the allegations of paragraph 53 are directed to Arch,

  Arch denies them. To the extent that the allegations of paragraph 53 are directed to

  other defendants, Arch lacks knowledge or information sufficient to form a belief as

  to the truth of the allegations in paragraph 53, and on that basis denies them.

      DEFENDANTS’ IMPROPER REFUSAL TO PROVIDE COVERAGE
           AND UNDERWRITERS’ BREACH OF CONTRACT

          54.   Arch admits that it participated in a January 11, 2022 phone conference

  with AmTrust and other insurers in which AmTrust asserted that payments by certain

  insurers combined with contribution by AmTrust resulted in full release of those

  insurers and that the corresponding Run-Off Policies were thereby also exhausted.

  Arch denies the remaining allegations of paragraph 54.



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        55.    Arch lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations in paragraph 55, and on that basis denies them.

        56.    Arch admits the allegations of paragraph 56 but denies any implication

  that that the Arch Policies provide the coverage requested.

        57.    The allegations of paragraph 57 purport to characterize a February 10,

  2022 letter from Underwriters, which speaks for itself. Arch denies any allegations

  inconsistent with Underwriters’ February 10, 2022 letter.

        58.    The allegations of paragraph 58 consist of legal conclusions to which

  no response is required and characterizations of a February 10, 2022 letter from

  Underwriters, which speaks for itself. Arch denies any allegations inconsistent with

  Underwriters’ February 10, 2022 letter. To the extent a response is deemed required

  to the legal conclusions set forth in paragraph 58, Arch denies the same.

        59.    The allegations of paragraph 59 consist of legal conclusions to which

  no response is required and characterizations of a February 10, 2022 letter from

  Underwriters, which speaks for itself. Arch denies any allegations inconsistent with

  Underwriters’ February 10, 2022 letter. To the extent a response is deemed required

  to the legal conclusions set forth in paragraph 59, Arch denies the same.

        60.    Arch denies the allegations of paragraph 60.




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        61.    Paragraph 61 purports to characterize filings in the Martinek Action,

  which speak for themselves. Arch denies any allegation inconsistent with the filings

  in the Martinek Action.

        62.    The allegations of paragraph 62 consist of legal conclusions to which

  no response is required and characterizations of filings from the Consolidated

  Stockholder Litigation, which speak for themselves. Arch denies any allegations

  inconsistent with filings in the Consolidated Stockholder Litigation. To the extent a

  response is deemed required to the legal conclusions set forth in paragraph 62, Arch

  denies the same. In further response, Arch denies the last sentence of paragraph 62.

        63.    Arch denies the allegations of the first sentence of paragraph 63. The

  remaining allegations of paragraph 63 consist of legal conclusions to which no

  response is required and characterizations of filings from the Derivative Actions,

  which speak for themselves. Arch denies any allegations inconsistent with filings in

  the Derivative Actions. To the extent a response is deemed required to the legal

  conclusions set forth in paragraph 63, Arch denies the same.

        64.    Arch denies the allegations of the first sentence of paragraph 64. The

  remaining allegations of paragraph 64 consist of legal conclusions to which no

  response is required and characterizations of a court order from the Martinek Action,

  which speaks for itself. Arch denies any allegations inconsistent with the referenced




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  order from the Martinek Action. To the extent a response is deemed required to the

  legal conclusions set forth in paragraph 64, Arch denies the same.

        65.    The allegations of paragraph 65 consist of legal conclusions to which

  no response is required. To the extent a response is deemed required, Arch denies

  the allegations of paragraph 65.

        66.    Arch denies the opening clauses of paragraph 66. The remaining

  allegations of paragraph 66 consist of legal conclusions to which no response is

  required and characterizations of correspondence from Underwriters, which speaks

  for itself. Arch denies any allegations inconsistent with the referenced Underwriters’

  correspondence. To the extent a response is deemed required to the legal conclusions

  set forth in paragraph 66, Arch denies the same.

        67.    Arch denies the allegations of the first sentence of paragraph 67. The

  remaining allegations of paragraph 67 consist of legal conclusions to which no

  response is required and characterizations of correspondence from Underwriters,

  which speaks for itself. Arch denies any allegations inconsistent with the referenced

  Underwriters’ correspondence. To the extent a response is deemed required to the

  legal conclusions set forth in paragraph 67, Arch denies the same.

        68.    The allegations of paragraph 68 purport to characterize a March 11,

  2022 letter from AmTrust, which speaks for itself. Arch denies any allegations




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  inconsistent with AmTrust’s March 11, 2022 letter and denies any implication that

  the assertions in the letter are correct.

         69.    Paragraph 69 makes no allegations against Arch and, therefore, no

  response from Arch is required. To the extent a response is deemed required, Arch

  denies the allegations in paragraph 69.

         70.    Arch admits that it has not accepted the coverage requested by AmTrust

  related to the Martinek Action but denies that it has any obligation to do so. Arch

  lacks knowledge or information sufficient to form a belief as to the truth of the

  remaining allegations in paragraph 70, and on that basis denies them.

                    COUNT I – BREACH OF CONTRACT
       (Against Underwriters, Markel, Allianz, Arch, Ironshore, and HCC)

         71.    Arch incorporates by reference its responses above as if fully set forth

  herein.

         72.    Arch denies the allegations of paragraph 72.

         73.    Arch admits that it received noticed of the Martinek Action. Arch

  denies the remaining allegations of paragraph 73.

         74.    Arch denies the allegations of the first sentence of paragraph 74. The

  remaining allegations of paragraph 74 consist of legal conclusions to which no

  response is required and characterizations of the XL Primary Policy and Arch

  Policies, which speak for themselves. Arch denies any allegations inconsistent with



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  the XL Primary Policy or Arch Policies. To the extent a response is deemed required

  to the legal conclusions set forth in paragraph 74, Arch denies the same.

        75.    Arch denies the allegations of paragraph 75.

        76.    Arch denies the allegations of paragraph 76.

        77.    Arch denies the allegations of paragraph 77.

        78.    Arch denies the allegations of paragraph 78.

                   COUNT II – DECLARATORY JUDGMENT
              AS TO EXHAUSTION OF UNDERLYING INSURANCE
                          (Against All Defendants)

        79.    Arch incorporates by reference its responses above as if fully set forth

  herein.

        80.    Arch denies the allegations of paragraph 80.

        81.    Arch admits that AmTrust contributed towards settlement of the

  Consolidated Stockholder Litigation and settled coverage disputes with XL, Zurich,

  Axis, and Hiscox for full policy releases. The remaining allegations of paragraph 81

  constitute legal conclusions to which no response is required. To the extent a

  response is deemed required, Arch denies the remaining allegations of paragraph 81.

        82.    The allegations of paragraph 82 purport to characterize a settlement

  agreement with XL, which speaks for itself. Arch denies any allegations inconsistent

  with the settlement agreement with XL.




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        83.    The allegations of paragraph 83 constitute legal conclusions to which

  no response is required. To the extent a response is deemed required, Arch denies

  the allegations.

        84.    The allegations of paragraph 84 purport to characterize a settlement

  agreement with Zurich, which speaks for itself. Arch denies any allegations

  inconsistent with the settlement agreement with Zurich.

        85.    The allegations of paragraph 85 constitute legal conclusions to which

  no response is required. To the extent a response is deemed required, Arch denies

  the allegations.

        86.    The allegations of paragraph 86 purport to characterize a settlement

  agreement with Axis, which speaks for itself. Arch denies any allegations

  inconsistent with the settlement agreement with Axis.

        87.    The allegations of paragraph 87 constitute legal conclusions to which

  no response is required. To the extent a response is deemed required, Arch denies

  the allegations.

        88.    The allegations of paragraph 88 purport to characterize a settlement

  agreement with Hiscox, which speaks for itself. Arch denies any allegations

  inconsistent with the settlement agreement with Hiscox.




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        89.    The allegations of paragraph 89 constitute legal conclusions to which

  no response is required. To the extent a response is deemed required, Arch denies

  the allegations.

        90.    The allegations of paragraph 90 constitute legal conclusions to which

  no response is required. To the extent a response is deemed required, Arch denies

  the allegations.

        91.    Arch admits the allegations of paragraph 91.

        92.    The allegations of paragraph 92 constitute legal conclusions to which

  no response is required. To the extent a response is deemed required, Arch denies

  the allegations.

        93.    No response is required to paragraph 93 to the extent it purports to

  characterize the Complaint. To the extent that a response is deemed required, Arch

  denies any of the allegations set forth in paragraph 93 contending or suggesting that

  Arch has breached any obligations under the Arch Policies or that Plaintiffs are

  entitled to the relief sought in the Complaint.

                             AFFIRMATIVE DEFENSES

                               First Affirmative Defense

        The Complaint fails to state a cause of action against Arch upon which relief

  may be granted.




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                              Second Affirmative Defense

        The Complaint against Arch is barred to the extent that it is not ripe or is

  nonjusticiable.

                               Third Affirmative Defense

        Arch has not breached any duty due and owing to AmTrust.

                              Fourth Affirmative Defense

        Arch has not breached any contract with AmTrust.

                               Fifth Affirmative Defense

        AmTrust is not entitled to the relief sought in the Complaint from Arch based

  upon the provisions, terms, and conditions of the XL Primary Policy and the Arch

  Policies.

                               Sixth Affirmative Defense

        Arch may have additional defenses that cannot be articulated because Arch

  does not have all documents or information bearing on insurance coverage issues.

  Arch reserves the right to reevaluate, reassess, and replead affirmative defenses to

  the extent additional issues arise.




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        WHEREFORE, Defendant Arch Insurance Company respectfully requests

  that the Complaint be dismissed with prejudice, that judgment be entered in Arch’s

  favor, and that Arch be awarded its costs and such other and further relief as the

  Court may deem just and proper.

  Dated: July 20, 2022

                                              SMITH KATZENSTEIN & JENKINS
                                              LLP

                                                    /s/ Robert J. Katzenstein
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                                     SUPERIOR COURTEFiled: Jul 20 2022 12:22PM EDT
                                                   Transaction
                         CIVIL CASE INFORMATION STATEMENT       ID 67839710
                                                            (CIS)
                                                   Case No. N22C-04-010 MMJ CCLD
COUNTY:      [N]    K       S       CIVIL ACTION NUMBER: N22C-04-010 MMJ CCLD


 Caption:                                            Civil Case Code:     CCLD

 AMTRUST FINANCIAL SERVICES, INC.                    Civil Case Type: Complex Commercial Litigation

                           Plaintiff,                Name and Status of Party filing document:
                                                     ARCH INSURANCE COMPANY, DEFENDANT
 v.
                                                     Document Type: (E.G;, COMPLAINT; ANSWER WITH
 FORGE UNDERWRITING LIMITED, ET AL.,                 COUNTERCLAIM)

                           Defendants.               ANSWER and AFFIRMATIVE DEFENSES

                                                     JURY DEMAND: YES                  NO        XX



 ATTORNEY NAME(S):                                   IDENTIFY ANY RELATED CASES NOW PENDING IN THE
 Robert J. Katzenstein                               SUPERIOR COURT BY CAPTION AND CIVIL ACTION NUMBER
 Julie M. O’Dell                                     INCLUDING JUDGE=S INITIALS:

 ATTORNEY ID(S):
 378
 6191
 FIRM NAME:
 Smith, Katzenstein & Jenkins LLP                    EXPLAIN THE
                                                     RELATIONSHIP(S):
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 rjk@skjlaw.com                                      MANAGEMENT:
 jmo@skjlaw.com




                                                     (IF ADDITIONAL SPACE IS NEEDED, PLEASE ATTACH PAGE)
 THE PROTHONOTARY WILL NOT PROCESS THE COMPLAINT, ANSWER, OR FIRST RESPONSIVE PLEADING IN THIS MATTER FOR
 SERVICE UNTIL THE CASE INFORMATION STATEMENT (CIS) IS FILED. THE FAILURE TO FILE THE CIS AND HAVE THE PLEADING
 PROCESSED FOR SERVICE MAY RESULT IN THE DISMISSAL OF THE COMPLAINT OR MAY RESULT IN THE ANSWER OR FIRST
 RESPONSIVE PLEADING BEING STRICKEN.




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                                                 EFiled: Jul 20 2022 12:22PM EDT
                                                 Transaction ID 67839710
                                                 Case No. N22C-04-010 MMJ CCLD
                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on July 20, 2022, a true and correct copy of the

  foregoing DEFENDANT ARCH INSURANCE COMPANY’S ANSWER AND

  AFFIRMATIVE DEFENSES was served on all counsel of record by

  File&ServeXpress.


                                                /s/ Robert J. Katzenstein
                                           Robert J. Katzenstein (No. 378)




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                                                 EFiled: Jul 22 2022 02:29PM EDT
                                                 Transaction ID 67850545
                                                 Case No. N22C-04-010 MMJ CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


  AMTRUST FINANCIAL SERVICES,
  INC.,

                Plaintiff,

                v.                       C.A. No. N22C-04-010 MMJ CCLD

  FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
  ASPEN SYNDICATE 4711,        TWELVE DEMANDED
  MARKEL BERMUDA LIMITED,
  ALLIANZ GLOBAL US RISKS
  INSURANCE COMPANY, ARCH
  INSURANCE COMPANY,
  IRONSHORE INDEMNITY, INC.,
  and U.S. SPECIALTY INSURANCE
  COMPANY,

                Defendants.


       ANSWERING BRIEF IN OPPOSITION TO DEFENDANTS
   FORGE UNDERWRITING LIMITED AND ASPEN SYNDICATE 4711’S
             MOTION TO DISMISS THE COMPLAINT

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  Dated: July 22, 2022                    Attorneys for Plaintiff AmTrust Financial
  Wilmington, Delaware                    Services, Inc.



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     85 N.Y.S.3d 347 (N.Y. Sup. Ct. 2018) ...............................................................11

  Murphy v. Pentwater Capital Mgmt. LP,
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  Puleo v. Shore View Ctr. for Rehab. & Health Care,
     132 A.D.3d 651 (N.Y. Sup. Ct. 2nd Dept. 2015) ...............................................11

  RSUI Indem. Co. v. Murdock,
    248 A.3d 887 (Del. 2021) ...................................................................................14

  Stein v. United Wind, Inc.,
     139 N.Y.S.3d 520 (N.Y. Sup. Ct. 2021) ............................................................. 11

  Sydney Attractions Group Pty Ltd. v. Schulman,
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  Triple Z Postal Services, Inc. v. United Parcel Serv., Inc.,
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  Wilmington Sav. Fund Soc’y, FSB v. Caesars Entm’t Corp.,
     2015 WL 1306754 (Del. Ch. Mar. 18, 2015) ...................................................7, 8




                                                        iv
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        Plaintiff AmTrust Financial Services, Inc. (“AmTrust”) submits this

  memorandum in opposition to Defendants Forge Underwriting Limited (“Forge”)

  and Aspen Syndicate 4711’s (“Aspen” and, together with Forge, “Underwriters”)

  Motion to Dismiss the Complaint.

                                  INTRODUCTION

        AmTrust seeks to enforce its rights to coverage under directors & officers

  (“D&O”) liability insurance policies for settlement of a securities class action filed

  during the “run-off” period after its go-private merger transaction. Forge and Aspen

  and the other defendant insurers, who each issued excess run-off D&O policies to

  AmTrust, specifically designed to cover “tail” risks for later-filed claims arising

  from pre-merger conduct, denied coverage for AmTrust’s claim.

        Forge and Aspen do not base their Motion to Dismiss on any substantive

  coverage arguments. Instead, they seek dismissal solely on the basis of “Forum

  Selection Clauses” in the run-off policies they issued to AmTrust (the “Excess

  Policies”) that they assert require AmTrust’s dispute against them to proceed in New

  York courts. However, Forge and Aspen’s interpretation of the Forum Selection

  Clauses is flawed: while disputes solely involving Forge and Aspen are to be heard

  in New York courts, Forge and Aspen agreed to submit to the jurisdiction of any

  other forum if the dispute – like this one – also includes any insurers that issued

  policies underlying Forge and Aspen’s Excess Policies (“Underlying Insurers”).



                                            1
                                                                            Exhibit - Page 122
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        As an initial matter, Delaware law applies to this issue because, as Forge and

  Aspen concede, Delaware and New York law are not in conflict and the result would

  be the same under either state’s law. Under Delaware law, a party may enforce its

  contractual rights in the forum of its choosing absent a forum selection clause that is

  “crystalline” in precluding that choice.

        Forge and Aspen included in each of the Excess Policies a conditional Forum

  Selection Clause that applies “[u]nless stated herein to the contrary.” The Excess

  Policies then include a “Single Action Clause,” designed to prevent litigation in

  multiple forums, stating that if there is a dispute between AmTrust and Forge and

  Aspen that also involves any of the Underlying Insurers, “then those disputes shall

  be heard together in the same court or arbitration proceedings.”

        Forge and Aspen admit that this litigation includes an “Underlying Insurer”

  but then attempt to insinuate into the plain policy language a requirement that actions

  involving both Forge and Aspen and Underlying Insurers may only be brought

  “before a New York court.” For several reasons, Forge and Aspen’s interpretation

  of the Single Action Clause turns its obvious intent on its head.

        First, the Single Action Clause, as this name reveals, is designed to soften the

  effect of the Forum Selection Clause, avoiding the cost of multiple court proceedings

  and the risk of inconsistent rulings.      If an Underlying Insurer had brought a

  declaratory judgment action in Delaware, as D&O carriers often do, the Clause

  would prevent Forge and Aspen from using the Forum Selection Clause to force
                                             2
                                                                            Exhibit - Page 123
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  AmTrust to litigate a separate action in New York. Forge and Aspen agree to submit

  to the jurisdiction of the court hearing the underlying dispute in a “single action.”

  Nothing in the Single Action Clause indicates it would only apply to actions brought

  by carriers and exclude actions brought by the insured.

        Second, nowhere in the Single Action Clause does it state that the single action

  must be in New York, or, for that matter, in a court of any kind. Indeed, Forge and

  Aspen agreed to submit to the jurisdiction of any arbitration tribunal, which, as is

  often the case in insurance disputes involving insurance placed at Lloyd’s of

  London, may require arbitration in London or Bermuda. Of course, an arbitration is

  not a court proceeding, and if an underlying insurer did specify a Bermuda

  arbitration, Forge and Aspen could be compelled to participate in such a proceeding,

  which certainly is not a New York court. Courts should not be asked to read

  language into an insurance policy that the insurer chose to omit, especially when to

  do so would limit the insured’s coverage rights.

        For these reasons and as further set forth below, Forge and Aspen’s Motion to

  Dismiss should be denied.

                            FACTUAL BACKGROUND

        AmTrust procured D&O policies to provide “run-off” or “tail” coverage for

  claims asserted during the six-year period following AmTrust’s acquisition by the

  Karfunkel-Zyskind Family and a group led by Stone Point Capital LLC in November

  2018 arising from pre-merger conduct (the “Run-Off Policies”). Complaint at ¶ 1.
                                            3
                                                                           Exhibit - Page 124
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  The Run-Off Policies consisted of a primary policy and numerous excess policies in

  “layers” as shown in the chart below:

   Layer              Insurer(s)                               Limit

   Sixth Excess       -Forge Underwriting Limited              $10M xs $40M
                      -Aspen Syndicate 4711
                      -Arch American Insurance Company
                      -Markel Bermuda, Limited
                      -Allianz Global US Risks Insurance
                      Company
   Fifth Excess       -Forge Underwriting Limited              $15M xs $25M
                      -Aspen Syndicate 4711
                      -Arch American Insurance Company
                      -Markel Bermuda, Limited
   Fourth Excess      -Hiscox Syndicate No. 33                 $5M xs $20M
   Third Excess       -Markel Bermuda, Limited                 $5M xs $15M
                      -Allianz Global US Risks Insurance
                      Company
   Second Excess      -AXIS Insurance Company                  $5M xs $10M
   First Excess       -Zurich American Insurance               $5M xs $5M
                      Company
   Primary            -Indian Harbor Insurance Company         $5M xs $5M
                                                               retention

  See Complaint at ¶ 5.

        Forge and Aspen issued Excess Policies in both the fifth and sixth layers of

  the Run-Off Policies. Each of the Forge and Aspen Excess Policies includes a

  “Forum Selection Clause” that states as follows:

        Unless stated herein to the contrary, this (Re)Insurance shall be
        governed by and construed in accordance with the laws of US New
        York and the exclusive jurisdiction of the US New York courts.
                                          4
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  Complaint Exs. L and P, §7 (emphasis added). The Excess Policies also each include

  “Dispute Resolution Clauses” stating Forge and Aspen will agree to other forums

  for dispute resolution under described circumstances, as follows:

        8.1       In the event that a dispute arises between the Insurer and the
                  Insured under this excess policy, the provisions of the
                  Primary Policy are incorporated into this excess policy for the
                  purposes of determining the dispute resolution procedures
                  applicable to this excess policy.

        8.2       In the event that a dispute arises between the Insurer and the
                  Insured under this excess policy in relation to matters that are
                  also the subject of a dispute between the Insured and the
                  insurers of any Underlying Insurance then those disputes
                  shall be heard together in the same court or arbitration
                  proceedings.

  Complaint Exs. L and P, §8 (emphasis added). Section 8.2 of the Dispute Resolution

  Provisions is referred to herein as the “Single Action Clause.” The Excess Policies

  define “Underlying Insurance” as “the Primary Policy together with any and all

  excess policies providing together the amount of cover specified at item (b) of the

  limit of liability in the RISK DETAILS of this policy, and any policies replacing any

  of them.” Id., § 2.7. The underlying limit of liability in the RISK DETAILS of the

  Excess Policies consists of the limits of all the Run-Off Policies in the layers below

  the fifth layer and the sixth layer, respectively. Id., RISK DETAILS, LIMIT OF

  LIABILITY.

        AmTrust sought coverage under policies in the fifth and sixth layers of the

  Run-Off Policies for the lawsuit Martinek v. AmTrust Financial Service, Inc. et al.,


                                            5
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  Case No, 19-8030, in the U.S. District Court, Southern District of New York (the

  “Martinek Action”). The insurers denied coverage for the Martinek Action, with

  some – including Forge and Aspen – arguing that the limits of the policies underlying

  their layer were not exhausted. Underlying Insurers disagreed, arguing that their

  policies were exhausted, thus creating a significant conflict between carriers.

        Accordingly, AmTrust brought this litigation against the potentially liable

  insurers of the Run-Off Policies, including both the fifth and sixth excess layers, and

  Underlying Insurers.1

                                     ARGUMENT

  I.    BECAUSE THERE IS NO CONFLICT BETWEEN NEW YORK AND
        DELAWARE LAW ON THE APPLICATION OF FORUM
        SELECTION CLAUSES, DELAWARE LAW APPLIES.

        In their Motion to Dismiss, Forge and Aspen represent that Delaware and New

  York apply the same standards to application of forum selection clauses, with both

  states requiring such provision “be enforced” under their “express” and “contractual

  language.” Opening Brief at 9-14. Further, Forge and Aspen conclude that “even if

  Delaware law applied to [Forge and Aspen’s] Excess Policies, the result would be

  the same.” Id. at 15, n. 5.




  1
    The Underlying Insurance Policy in the third excess layer issued by Markel
  Bermuda Limited includes an arbitration clause. Complaint Ex. H, § E. AmTrust
  has not, but could have, pursued arbitration proceedings against Markel and
  compelled Forge and Aspen to join those proceedings.
                                            6
                                                                            Exhibit - Page 127
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        When a result would be the same under Delaware and a competing state’s law,

  that is a “false conflict” under Delaware law, so that “the Court should avoid the

  choice-of-law analysis altogether” and apply Delaware law. Deuley v. DynCorp

  Intern., Inc., 8 A.3d 1156, 1161 (Del. 2010). This rule applies even where the

  contract at issue includes a choice-of-law provision designating the competing

  state’s law. See id. (declining the perform a choice-of-law analysis and applying

  Delaware law where there was a “false conflict” with Dubai law as designated in the

  contract); see also In re Bay Hills Emerging Partners I, L.P., 2018 WL 3217650, at

  *5 (Del. Ch. July 2, 2018) (“Bay Hills”).

        For example, in Bay Hills, like here, the parties’ contract included choice-of-

  law and forum selection clauses for another state (in that case, Kentucky). Bay Hills,

  2018 WL 3217650, at *2. However, the Court determined that, also like here, there

  was a “false conflict” between Kentucky and Delaware law on the enforcement of

  forum selection clauses. Id. at *5. Accordingly, the Court declined to undertake a

  choice-of-law analysis, applied Delaware law, and denied the defendants’ motion to

  dismiss based on the forum selection clause. Id. at *5-6; see also Wilmington Sav.

  Fund Soc’y, FSB v. Caesars Entm’t Corp., 2015 WL 1306754, at *5 (Del. Ch. Mar.

  18, 2015) (same with respect to New York forum selection provision); Troy Corp.

  v. Schoon, 2007 WL 949441, at *10-11 (Del. Ch. Mar. 26, 2007) (same). Given

  Forge and Aspen’s concession that the result here is the same under New York or

  Delaware law, the Court should likewise refrain from a choice of law analysis and
                                              7
                                                                           Exhibit - Page 128
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  apply Delaware law to the Forum Selection Clauses. For the reasons explained

  below, Delaware law compels that Forge and Aspen’s Motion to Dismiss be denied.

  II.   THE EXCESS POLICIES’ FORUM SELECTION CLAUSES
        INCLUDE EXPRESS EXCEPTIONS TO A NEW YORK FORUM
        BASED ON OTHER POLICY TERMS.

        Under Delaware law, “[f]or a forum selection clause to be strictly binding, the

  parties must use express language clearly indicating that the forum selection clause

  excludes all other courts before which those parties could otherwise properly bring

  an action.” Troy Corp. 2007 WL 949441, at *2 (“Troy”) (emphasis added); see also

  Eisenbud v. Omnitech Corp. Sols., Inc., 1996 WL 162245, at *1 (Del. Ch. Mar. 21,

  1996) (denying motion to dismiss based on forum selection clause where “the final

  agreement does not unequivocally indicate it is the only forum”) (emphasis in

  original). Further, “[i]f the contractual language is not crystalline, a court will not

  interpret a forum selection clause to indicate the parties intended to make jurisdiction

  exclusive.” Troy, 2007 WL 949441 at *2 (emphasis added); Duff v. Innovative

  Discovery LLC, 2012 WL 6096586, at *11 (Del. Ch. Dec. 7, 2012) (same); see also

  Wilmington Sav. Fund Soc’y, FSB, 2015 WL 1306754, at *5 n. 29 (noting that under

  both Delaware and New York law, exclusive forum selections must be “clear and

  unambiguous”).

        Forge and Aspen argue at length that the “express language” of the Forum

  Selection Clauses “plainly provide[s] that New York courts shall have exclusive

  jurisdiction to hear any dispute arising under [Forge and Aspen’s] Excess Policies.”

                                             8
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  Opening Brief at 11-13 (emphasis in original). However, in making this argument,

  Forge and Aspen omit the entire first clause of the Forum Selection Clauses (without

  any indication they did so). Id. at 13-14. As shown below, the language Forge and

  Aspen removed is critical because it adds in a significant condition to the provisions’

  forum selection, which must be enforced like any other language in a forum selection

  provision:

        Unless stated herein to the contrary, this (Re)Insurance shall be
        governed by and construed in accordance with the laws of US New
        York and the exclusive jurisdiction of the US New York courts.

  Complaint Exs. L and P, §7 (emphasis added). Accordingly, under the express

  language of the Forum Selection Clauses, the agreement to New York jurisdiction

  does not apply if any other provisions in the Excess Policies provide for another

  forum.

        In the Troy case, the Chancery Court applied a similar exception in the forum

  selection clause at issue, which stated:

        Any lawsuits with respect to, in connection with or arising out of this
        agreement shall be brought in a court for the Southern District of New
        York and the parties hereto consent to the jurisdiction and venue of such
        court for the Southern District as the sole and exclusive forum, unless
        such court is unavailable, for the resolution of claims by the parties
        arising under or relating to this agreement.

  Troy, 2007 WL 949441 at *1 (emphasis added). The Court determined that the

  exception to the parties’ forum selection agreement applied because the parties’

  dispute was not subject to federal court jurisdiction, and therefore plaintiff’s case


                                             9
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  could proceed in Delaware. Id. at *3-4. Further, the Court explained that by

  rejecting defendants’ motion to dismiss, the Court was in fact enforcing the plain

  terms of the forum selection clause:

        [T]he court in this case is not setting aside or refusing to enforce the
        forum selection clause. It is simply recognizing that the contractual
        language used chose the United States District Court for the Southern
        District of New York and that court is unavailable. A ruling that the
        necessary factual requisites are lacking for a dispute to fall within the
        confines of a contractual provision is not at all akin to refusing to
        enforce such a provision entirely.

  Id. at *4. Likewise, here, AmTrust is not asking this Court to set aside or refuse to

  enforce the Forum Selection Clauses. Rather, AmTrust merely seeks to have the

  Forum Selection Clauses applied as written, which is subject to other provisions in

  the Excess Policies (that, as explained below, require Forge and Aspen’s dispute

  with AmTrust to proceed in this Court).

        Moreover, none of the cases cited by Forge and Aspen in support of their

  argument hold otherwise. None of the forum selection clauses at issue in those cases,

  if any, include an exception on the face of the provision, whether in Delaware2 or


  2
    See Nat’l Indus. Group (Holding) v. Carlyle Inv. Mgmt. L.L.C., 67 A.3d 373, 377
  (Del. 2013) (granting anti-suit injunction against Kuwait suit where forum selection
  clause stated “[t]he courts of the State of Delaware shall have exclusive jurisdiction
  over any action, suit or proceeding with respect to this Subscription Agreement”
  without exception); Ingres Corp. v. CA, Inc., 8 A.3d 1143, 1147 (Del. 2010)
  (affirming injunction of California lawsuit where parties agreed in forum selection
  clause to bring any action in New York or Delaware without exception); Ashall
  Homes Ltd. v. ROK Entm’t Group Inc., 992 A.2d 1239, 1243 (Del. Ch. 2010)
  (dismissing suit where contract stated “the English courts shall have jurisdiction over
  any disputes arising hereunder” without exception); Loveman v. Nusmile, Inc., 2009
                                            10
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  New York.3 Further, in cases Forge and Aspen cite where the forum selection

  provisions are not clearly limited to one forum, the courts denied the motions to

  dismiss. See Eisenbud, 1996 WL 162245 (denying motion to dismiss where “the

  final agreement does not unequivocally indicate it is the only forum”); Nat’l Union

  Fire Ins. Co. of Pittsburgh, Pa. v. Trustwave Holdings, Inc., 2016 WL 2354621, at

  *5 (Del. Super. May 3, 2016) (denying motion to dismiss where parties’ successive

  contracts identified different forums for disputes and the court could not determine

  which was triggered); Brooke Group Ltd. v. JCH Syndicate 488, 87 N.Y.2d 530, 534

  (1996) (holding that service of suit clause consenting to jurisdiction did not mandate

  venue).


  WL 847655 (Del. Super. Mar. 31, 2009) (dismissing suit where parties agreed to
  “submit to the exclusive jurisdiction of the federal and state courts of the State of
  Florida located in Broward County” without exception); see also M/S Bremen v.
  Zapata Off-Shore Co., 407 U.S. 1, 2 (1972) (enforcing forum selection clause stating
  “[a]ny dispute arising must be treated before the London Court of Justice” without
  exception).
  3
    Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. Williams, 223 A.D.2d 395 (N.Y.
  Sup. Ct. 1st Dept. 1996) (applying permissive New York forum selection clause
  without exception); Encompass Aviation, LLC v. Surf Air Inc., 2018 WL 6713138,
  at *8 (S.D.N.Y. Nov. 30, 2018) (same); Fear & Fear, Inc. v. N.I.I. Brokerage, L.L.C.,
  851 N.Y.S.2d 311 (4th Dept. 2008) (same); Stein v. United Wind, Inc., 139 N.Y.S.3d
  520 (N.Y. Sup. Ct. 2021) (applying plain language of forum selection clause with
  no exception); Milmar Food Group II, LLC v. Applied Underwriters, Inc., 85
  N.Y.S.3d 347 (N.Y. Sup. Ct. 2018) (same); Puleo v. Shore View Ctr. for Rehab. &
  Health Care, 132 A.D.3d 651, 652 (N.Y. Sup. Ct. 2nd Dept. 2015); Sydney
  Attractions Group Pty Ltd. v. Schulman, 74 A.D.3d 476 (N.Y. Sup. Ct. 1st Dept.
  2010) (same); Triple Z Postal Services, Inc. v. United Parcel Serv., Inc., 831
  N.Y.S.2d 357 (N.Y.Sup. Ct. 2006) (same); D.H. Blair & Co., Inc. v. Gottdiener, 462
  F.3d 95, 100 (2d Cir. 2006) (affirming arbitration award under clause selecting New
  York as forum to do so without exception).
                                           11
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         Accordingly, the Court must evaluate the other provisions in the Excess

  Policies to determine whether any are “contrary” to exclusive jurisdiction in New

  York, which there are.

  III.   DELAWARE IS A PROPER FORUM FOR THIS DISPUTE UNDER
         THE SINGLE ACTION CLAUSE.

         The Excess Policies include the Dispute Resolution Provisions, which each

  include the Single Action Clause that states as follows:

         8.2      In the event that a dispute arises between the Insurer and the
                  Insured under this excess policy in relation to matters that are
                  also the subject of a dispute between the Insured and the
                  insurers of any Underlying Insurance then those disputes
                  shall be heard together in the same court or arbitration
                  proceedings.

  Complaint Exs. L and P, §8 (emphasis added).

         A.    This Litigation Falls Under the Terms of the Single Action Clause.

         Forge and Aspen acknowledge the dispute in this litigation includes an insurer

  of “Underlying Insurance,” specifically Allianz, which issued a policy in the third

  excess run-off layer underlying both the fifth and sixth-layer Excess Policies issued

  by Forge and Aspen.4 See Opening Brief at 15 (“AmTrust names one of the

  Underlying Insurers as a Defendant”).



  4
   While Forge and Aspen suggest that AmTrust named Allianz in this litigation “[i]n
  support of this position,” AmTrust was compelled to seek a declaration against
  Allianz on the third-layer excess policy due to Forge and Aspen’s own argument that
  policy is not exhausted. See, e.g., Complaint Exhibit BB at 10-11 (letter from Forge
  and Aspen arguing that the policies underlying the Excess Policies had not
  exhausted).
                                           12
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        Further, all the other policies in the fifth excess run-off layer are “Underlying

  Insurance” to Forge and Aspen’s sixth-layer Excess Policy. See Complaint Ex. P,

  Section 2.7 and Risk Details (identifying as “Underlying Insurance” those policies

  providing the limits underlying the sixth-layer Excess Policy, including the policies

  in the fifth layer). Another defendant in this litigation, Arch Insurance Company,

  also issued a policy in the fifth excess run-off layer, and is therefore also an

  “insurer[] of any Underlying Insurance” for purposes of the Single Action Clause in

  Forge and Aspen’s sixth-layer Excess Policy.

        The plain language of the Single Action Clause therefore requires that

  AmTrust’s disputes with Forge and Aspen and those Underlying Insurers – Allianz

  and Arch – “be heard together in the same court or arbitration proceedings.” Trying

  to turn this obvious intent on its head, Forge and Aspen argue that: “When read in

  conjunction with the Forum Selection Clauses, the Single Action Clause requires

  that any action against [Forge and Aspen] and the Underlying Insurers must be

  brought in a single action before a New York court.” Opening Brief at 17 (emphasis

  added). However, Forge and Aspen’s interpretation of those Clauses is patently

  incorrect.

        B.     The Single Action Clause Requires Forge and Aspen Join Dispute
               Resolution Proceedings in Forums Other Than New York Courts.

        First, Forge and Aspen’s position is contrary to the plain language of the

  Single Action Clause, which clearly provides, for example, that disputes between


                                           13
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  AmTrust and Forge and Aspen must be heard in “arbitration proceedings” if

  necessary to join disputes with Underlying Insurers. See Complaint Exs. L and P,

  §8.2. Such “arbitration proceedings,” by their very definition, would not be in “New

  York courts.” See, e.g., Enel Green Power N. Am., Inc. v. Geronimo Energy, LLC,

  2019 WL 4805659, at *4 (S.D.N.Y. Sept. 30, 2019) (citing Merrill Lynch, Pierce,

  Fenner & Smith Inc. v. Oliver, 2016 WL 344980, at *2 (S.D.N.Y. Jan. 27,

  2016), aff’d sub nom. 681 F. App’x 64 (2d Cir. 2017)) (holding that a mandatory

  forum selection clause “substantively excludes” arbitration “even if it does not

  explicitly reference arbitration”).

        Forge and Aspen’s interpretation would thus “render a[] portion of the

  agreement meaningless” – namely, the requirement that Forge and Aspen join

  arbitration proceedings with Underlying Insurers – an outcome they object to in the

  Opening Brief as contrary to “black letter law.” See Opening Brief at 17 (citing Beal

  Sav. Bank v. Sommer, 865 N.E.2d 1210, 1213 (N.Y. 2007); God’s Battalion of

  Prayer Pentecostal Church, Inc. v. Miele Assocs., LLP, 845 N.E.2d 1265, 1267

  (N.Y. 2006)); see also RSUI Indem. Co. v. Murdock, 248 A.3d 887, 905 (Del. 2021)

  (“Proper interpretation of an insurance contract will not render any provision

  ‘illusory or meaningless.’”) (citation omitted).

        Further, the Single Action Clause does not specify a forum for the “same

  court” in which disputes including both Forge and Aspen and Underlying Insurers

  must be heard. See Exs. L and P, §8.2. For the Single Action Clause to require such
                                            14
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  disputes be heard together in New York courts, Forge and Aspen would have had to

  say so in “crystalline” terms, which they failed to do. See, e.g., Troy, 2007 WL

  949441 at *2; Trustwave Holdings, Inc., 2016 WL 2354621, at *4 (denying motion

  to dismiss where the court could not determine which claims fell within competing

  forum selection clauses); Duff, 2012 WL 6096586, at *11 (denying motion to

  dismiss where conflicting forum selection clauses “make the parties’ intent as to a

  contractual choice of forum here far from ‘crystalline’”).

        In the absence of a specified forum, disputes including both Forge and Aspen

  and Underlying Insurers can be brought in any available forum. As the Court

  concluded in Troy when a similar exception to a forum selection clause applied:

        And since the clause at issue does not speak to an alternative forum,
        Troy, exercising the substantial discretion that a plaintiff naturally
        enjoys over its choice of venue, appropriately brought suit [in Delaware
        court].

  Troy, 2007 WL 949441 at *3. Where, as here, the Single Action Clause applies, the

  absence of an alternative forum likewise means AmTrust is not limited to New York

  and may bring claims in its choice of appropriate forum.

        Forge and Aspen argue that this interpretation “would essentially read the

  Forum Selection Clauses out of [Forge and Aspen’s] Excess Policies.” Opening

  Brief at 17. However, Forge and Aspen’s argument ignores the fact that, as

  explained above, the Excess Policies explicitly state which provisions control in case

  of a conflict with the Forum Selection Clauses, because those Clauses apply

                                           15
                                                                            Exhibit - Page 136
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  “[u]nless stated herein to the contrary.” The Single Action Clause “state[s] to the

  contrary” when disputes include both Forge and Aspen and Underlying Insurers.

  That does not mean the Forum Selection Clauses are read out of the Excess Policies

  or are rendered ineffective – they still apply to any disputes that do not fall within

  the Single Action Clauses. That is just not the case here.

        C.     The Purpose of the Single Action Clause Requires Forge and Aspen
               Submit to Jurisdiction in Forums Other Than New York Courts.

        Forge and Aspen’s interpretation of the Single Action Clause also contradicts

  the purpose of those provisions. As detailed above and in the Complaint, the Excess

  Policies were part of a multi-layer run-off insurance program subscribed to by more

  than a dozen insurers with some issuing numerous policies, all providing coverage

  under generally the same substantive terms. See Complaint, ¶¶ 1-5, 37-41; Exs. B-

  W.   It is typical for any sizable insurance coverage dispute, particularly one

  involving such a complicated program, to involve multiple insurance policies and

  insurers. As revealed in the shorthand name Forge and Aspen used – the “Single

  Action” Clause – that provision is designed to soften the effect of the Forum

  Selection Clause, and to avoid the cost of multiple proceedings and the risk of

  inconsistent rulings.

        Forge and Aspen argue that the Single Action Clause avoids piecemeal

  litigation by requiring disputes involving both Forge and Aspen and Underlying

  Insurers be brought in New York. Opening Brief at 18-19. However, that cannot be


                                           16
                                                                           Exhibit - Page 137
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  what the Single Action Clause requires also because the Underlying Insurers are not

  parties to the Excess Policies and Forge and Aspen’s Forum Selection Clauses would

  not bind them.

        Under Delaware law, non-signatories are only bound by a forum selection

  clause if they are “closely related to” the contract, meaning they either “receive[]

  direct benefit from the agreement” or “it was foreseeable that [they] would be bound

  by the agreement.” Partners & Simons, Inc. v. Sandbox Acquisitions, LLC, 2021

  WL 3161651, at *4 (Del. Ch. July 26, 2021); see also Murphy v. Pentwater Capital

  Mgmt. LP, 2017 WL 5068572, at *4 (Del. Super. Oct. 31, 2017). Further, Delaware

  courts “purposefully limit[] the scope of the foreseeability inquiry to controlled non-

  signatories” which “typically requires         rejecting   principles of corporate

  separateness.” Partners & Simons, Inc., 2021 WL 3161651, at *4; see also BAM

  Int’l, LLC v. MSBA Group Inc., 2021 WL 5905878, at *12-14 (Del. Ch. Dec. 14,

  2021) (declining to expand foreseeability test to signatories’ CEO and CFO).5

        The Underlying Insurers do not receive any “direct benefit” from Forge and

  Aspen’s Excess Policies, which only attach to benefit and provide coverage to

  AmTrust and other insureds after exhaustion of the Underlying Insurers’ policies.




  5
    New York law on this issue is similar. See, e.g., First Ins. Funding Corp. v. Kass,
  920 N.Y.S.2d 311 (1st Dept. 2011) (holding non-signatories were not subject to
  forum selection clause where they were not “so closely related to the dispute that
  they should have foreseen that they would be bound by the forum selection clause”).
                                            17
                                                                            Exhibit - Page 138
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  Further, the Underlying Insurers are not “controlled” by either Forge and Aspen or

  AmTrust. Accordingly, they would not be subject to the Forum Selection Clauses.

        Forge and Aspen seek to avoid this issue by focusing solely on actions filed

  by AmTrust. See Opening Brief at 16-17. However, for example, if one of the

  Underlying Insurers brought a declaratory judgment action against AmTrust in any

  venue other than New York on a dispute that also implicated Forge and Aspen, under

  Forge and Aspen’s interpretation, AmTrust would not be able to bring a claim

  against Forge and Aspen in that lawsuit and would have to file a separate action.

  The fact that outcome would defeat the purpose of the Single Action Clause shows

  that Forge and Aspen’s interpretation cannot be correct. Forge and Aspen agreed to

  submit to the jurisdiction of the court hearing the underlying dispute in a “single

  action.” Nothing in the Single Action Clause indicates it would only apply to actions

  brought by carriers and exclude actions brought by the insured.

        Forge and Aspen’s arguments with respect to arbitration clauses in Markel’s

  Underlying Insurance policies also miss the mark. As with the forum selection

  clauses, neither AmTrust nor Forge and Aspen could force other Underlying Insurers

  to waive their litigation rights and agree to arbitration. See, e.g., NAMA Holdings,

  LLC v. Related World Mkt. Ctr., LLC, 922 A.2d 417, 430 (Del. Ch. 2007) (“A non-

  signatory to a contract cannot be bound by an arbitration clause unless ‘traditional

  principles of contract and agency law’ equitably confer upon that party signatory

  status with regard to the underlying agreement.”); Ne. & Cent. Contractors, Inc. v.
                                           18
                                                                           Exhibit - Page 139
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  Quanto Capital, LLC, 203 A.D.3d 925 (N.Y. Sup. Ct. 2nd Dept. 2022) (same).

  While that means there could be concurrent litigation and arbitration proceedings

  involving disputes relating to Markel, Forge and Aspen and other Underlying

  Insurers, the Single Action Clause still limits the number of proceedings. Further, it

  still avoids litigation in multiple courts, which raises issues of comity and

  inconsistent legal rulings that are not present with respect to litigation and arbitration

  proceedings on the same issue.

        In any event, regardless of Markel’s dismissal from this action, there are no

  arbitration proceedings pending against any of the Underlying Insurers. If there

  were, AmTrust’s position on the Single Action Clause would be unchanged – Forge

  and Aspen agreed to join “the same court or arbitration proceedings” as such other

  Underlying Insurers, and must do so here.

                                     CONCLUSION

        The Motion to Dismiss should be denied because (i) the Forum Selection

  Clauses include express exceptions where stated in other Excess Policy terms,

  (ii) the Excess Policies’ Single Action Clause requires disputes including Forge and

  Aspen and other Underlying Insurers be heard in the same court without any forum

  limitation, and (iii) this litigation involved disputes with Forge and Aspen and other

  Underlying Insurers.

                                 [Signature on next page.]



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                                        Respectfully submitted,

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                                       20
                                                                     Exhibit - Page 141
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                                                    Transaction ID 67850545
                                                    Case No. N22C-04-010 MMJ CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


  AMTRUST FINANCIAL SERVICES,
  INC.,

               Plaintiff,

               v.                          C.A. No. N22C-04-010 MMJ CCLD

  FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
  ASPEN SYNDICATE 4711,        TWELVE DEMANDED
  MARKEL BERMUDA LIMITED,
  ALLIANZ GLOBAL US RISKS
  INSURANCE COMPANY, ARCH
  INSURANCE COMPANY,
  IRONSHORE INDEMNITY, INC.,
  and U.S. SPECIALTY INSURANCE
  COMPANY,

               Defendants.


                        CERTIFICATE OF COMPLIANCE

        1.    This brief complies with the typeface requirement of Superior Court

  Civil Rule 107(b) because it has been prepared in Times New Roman 14-point

  typeface using Microsoft Office Word 2016 Professional.

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              IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


  AMTRUST FINANCIAL SERVICES,
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                      Plaintiff,

                      v.                   C.A. No. N22C-04-010 MMJ CCLD

  FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
  ASPEN SYNDICATE 4711,        TWELVE DEMANDED
  MARKEL BERMUDA LIMITED,
  ALLIANZ GLOBAL US RISKS
  INSURANCE COMPANY, ARCH
  INSURANCE COMPANY,
  IRONSHORE INDEMNITY, INC.,
  and U.S. SPECIALTY INSURANCE
  COMPANY,

                      Defendants.


                      [PROPOSED] ORDER DENYING
          DEFENDANTS FORGE UNDERWRITING LIMITED AND ASPEN
           SYNDICATE 4711’S MOTION TO DISMISS THE COMPLAINT

             UPON CONSIDERATION of Defendants Forge Underwriting Limited and

  Aspen Syndicate 4711’s Motion to Dismiss the Complaint (the “Motion”) and the

  opposition thereto, it is hereby Ordered that the Motion is DENIED.

             IT IS SO ORDERED this ____ day of _________________, 2022.



                                          __________________________________
                                             The Honorable Mary M. Johnston



  H002.014/379429.5


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                                                      Transaction ID 67850545
                                                      Case No. N22C-04-010 MMJ CCLD
                           CERTIFICATE OF SERVICE

        I, David J. Baldwin, hereby certify that on July 22, 2022, I caused a true and

  correct copy of the foregoing document to be served upon the following individuals in

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                                                 Case No. N22C-04-010 MMJ CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
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                                    )
    AMTRUST FINANCIAL               )
    SERVICES, INC.,                 )
                                    )
                     Plaintiff,     )
                                    ) C.A. No. N22C-04-010 MMJ CCLD
         v.                         )
                                    )
    FORGE UNDERWRITING              )
    LIMITED, et al.,                )
                                    )
                     Defendants.    )
                                    )



                  REPLY BRIEF IN SUPPORT OF
           FORGE UNDERWRITING LIMITED AND ASPEN
       SYNDICATE 4711 s MOTION TO DISMISS THE COMPLAINT




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                                         Syndicate 4711




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                           PRELIMINARY STATEMENT

                     Answering Brief in

  Dismiss                                 attempts to rewrite or ignore key provisions

  of Underwriters            Policies1 in order to justify bringing this action in a

  Delaware court rather than a New York court as the policies require. The mandatory

  Forum Selection Clauses in                                    clearly state that New

  York courts have exclusive jurisdiction over any dispute arising under the policies.

  AmTrust does not dispute that such provisions are valid and enforceable under either

  New York or Delaware law, or that Delaware courts routinely grant motions to

  dismiss based on nearly identical provisions. Instead, the Opposition argues that this

  Court should apply an unreasonable and tortured reading of

  Policies to allow AmTrust to disregard its binding agreement that it would bring any

                                                           s of New York.

        First, AmTrust argues that this Court should disregard the New York choice-

  of-law clauses                                    and instead apply Delaware law to

  determine the enforceability of the Forum Selection Clauses because there is no

  difference between New York and Delaware law on this issue. AmTrust provides no

  reason why this Court should disregard the New York choice-of-law provisions and


  1
   Defined terms have the same meaning as in the Opening Brief in Support of Forge
  Underwriting Limited a                                          to Dismiss the
  Complaint                      unless otherwise stated.
                                            1

                                                                            Exhibit - Page 151
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  instead conduct a separate choice of law analysis. The choice-of-law clauses require

  this Court to interpret the Forum Selection Clauses and other provisions of

                                in accordance with the laws of New York. Regardless,

  under either New York or Delaware law, the Forum Selection Clauses are valid and

  enforceable and require this coverage dispute to be resolved in the New York courts.



              and are therefore not mandatory clauses. In doing so, AmTrust relies

  entirely

                               cluded in the Risk Details of

  Policies. AmTrust, however, conveniently fails to mention                  Governing

  Law and Jurisdiction of the policy wording which unequivocally requires that any



  jurisdiction of the New York courts. The Governing Law and Jurisdiction Clause



  that allows for an exception to the Forum Selection Clauses. Moreover,

                                                                 ntrary that New York

  courts have exclusive jurisdiction over any dispute under the policies.

        Third, AmTrust argues

  Policies allows AmTrust to bring this action in Delaware and side-step the Forum

  Selection Clauses by simply adding underlying insurers to its complaint. However,


                                            2

                                                                            Exhibit - Page 152
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  the Single Action Clause does not contradict the exclusive jurisdiction of the New

  York courts and does not address what forum has jurisdiction to hear a dispute under

                                  . Instead, the Single Action Clause merely states that

  disputes between AmTrust and Underwriters should be heard in the same proceeding

  as disputes between AmTrust and other insurers involving the same matter. There is

  nothing in the Single Action Clause that contradicts the mandatory Forum Selection

  Clauses or otherwise suggests

  may be heard in any jurisdiction other than New York.

        AmTrust has failed to demonstrate that the Forum Selection Clauses are

  unenforceable or that it otherwise should be allowed to ignore its express agreement

  that New York courts have exclusive jurisdiction over any dispute under

                                  . Therefore,           complaint should be dismissed

  for improper venue pursuant to Super. Ct. Civ. R. 12(b)(3).

                                      ARGUMENT

  A.    New York Law Applies to

        As explained in the Opening Brief, the Risk Details provide that

                                    shall be governed by and construed in accordance

  with the laws of US New York and the exclusive jurisdiction of the US New York




                                             3

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                             2
                                 Further, Section 7,

  of the Excess Wording of                                           states that

  constructions, interpretation and meaning of the terms, exclusions, limitations and

  conditions of this excess policy shall be determined in accordance with the laws of

                                                                          Accordingly,

  pursuant to the choice of law provisions, New York law applies to the construction,



  Policies.

        Delaware law is clear that choice of law provisions in contracts should be

  applied, including with respect to the interpretation of a forum selection clause. See

  Germaninvestments AG v. Allomet Corp., 225 A.3d 316, 331 (Del. 2020)

  contract contains a forum selection clause, this court will interpret the forum

  selection clause in accordance with the law chosen to govern the contract ) (quoting

  Ashall Homes Ltd. v. ROK Ent. Grp. Inc., 992 A.2d 1239, 1245 (Del. Ch. 2010)

  (Strine, C.)); see also Mack v. Rev Worldwide, Inc., 2020 WL 7774604, at *17, n.134

  (Del. Ch. Dec. 30, 2020) (same).

        Although AmTrust does not dispute



  2
   Underwriters Excess Policies Consist of the Fifth Excess Policy attached as Exhibit
  L to the Complaint and the Sixth Excess Policy attached as Exhibit P to the

  Excess Policies are at pages 4-
                                             4

                                                                           Exhibit - Page 154
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  include choice of law provisions mandating that New York law applies, AmTrust

  argues that this Court should

  apply Delaware law to the Forum Selection Clauses. According to AmTrust, because

  Forum Selection Clauses are similarly enforced under both New York and Delaware

  law                                                           a choice of law analysis.

  (Opp. at 7.) This is incorrect and                                     false conflict of



  parties contend that the laws of two different jurisdictions apply to a dispute, and the

  court determines that it need not undergo the often difficult choice of law analysis

  because the result would be the same under the laws of either jurisdiction. See

  Lagrone v. American Mortell Corp., 2008 WL 4152677, at *5 (Del. Super. Ct. Sept.

  4, 2008) (applying the false conflicts of law doctrine to avoid having to choose



  have clear New York choice of law provisions and there is no conflict or other

  dispute regarding the proper law to ap

        In Certain Underwriters at Lloyds, London v. Chemtura Corp., 160 A.3d 457,

  464 (Del. 2017), the Delaware Supreme Court specified the steps a court should

  follow to determine what law to apply to interpret an insurance policy. As explained

  in Chemtura, a court need only determine whether there is an actual conflict between




                                             5

                                                                             Exhibit - Page 155
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  the laws of the different states if the parties did not make an effective choice of law

  in their contract:

         There are, in essence, three components to this choice-of-law analysis:
         i) determining if the parties made an effective choice of law through
         their contract; ii) if not, determining if there is an actual conflict
         between the laws of the different states each party urges should
         apply; and iii) if so, analyzing which state has the most significant
         relationship.

  (emphasis added); see also Ameritrans Cap. Corp. v. XL Specialty Ins. Co., 2015

  WL 13697702, at *6 (Del. Super. Ct. Nov. 30, 2015)

  in a contract case, the Court will first look to the choice of law provision, if it

            AmTrust does not dispute that the parties effectively chose New York law

  to apply to                        Policies. As such, this Court must apply New York

  law to interpret the Forum Selection Clauses and the other provisions of

                                 .

         AmTrust relies on two cases, Deuley v. DynCorp Intern., Inc., 8 A.3d 1156,

  1160 (Del. 2010), and In re Bay Hills Emerging Partners I, L.P., 2018 WL 3217650

  (Del. Ch. July 2, 2018), to support its argument that despite the applicable choice of

  law provisions, the Court must apply Delaware law pursuant to the false conflict of

  law doctrine. (Opp. at 7.) Neither of these cases apply here. In Deuley, the plaintiffs

  challenged the efficacy of the relevant choice of law provision by arguing that the

  forum selection clause ap                                          contract, and not to



                                             6

                                                                             Exhibit - Page 156
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  the tort law at issue in the action.3 The court determined that it could avoid

  determining whether the choice of law provision was enforceable because the laws

  of Dubai and Delaware were the same regarding the relevant issue. See Deuley, 8

  A.3d at 1160-61. Here, there is no question that the choice of law clauses are

  enforceable and, in any event, AmTrust has not provided any basis for the

  application of any law other than New York.

        AmTrust also mischaracterizes In re Bay Hills Emerging Partners I, L.P.,

  suggesting that the court applied Delaware law to a contract because the parties

  agreed that Delaware and Kentucky law were the same. In reality, the court merely

  noted that, as Delaware and Kentucky law regarding the enforcement of forum

  selection clauses was the same, a choice of law analysis was not necessary. 2018

  WL 3217650, at *5.4

        The other cases cited by AmTrust regarding choice of law are also unavailing.

                                                             ., 2015 WL 1306754, at

  *5 (Del. Ch. Mar. 18, 2015), simply does not address choice of law provisions or

  conflicts of law. Troy Corp. v. Schoon applied New York law to a forum selection


  3
    See Deuley, Plaintiffs Sur-Reply to Defendants Reply Brief in Support of Their
  Motion to Dismiss, 2009 WL 6575482 at n.7 (May 26, 2009).
  4
    Further, even if Deuley or In re Bay Hills Emerging Partners I, L.P. stood for the
  proposition that a court could apply Delaware law to a contract with a choice of law
  provision that expressly selected the law of a specific jurisdiction, Chemtura
  expressly provides the steps a court must take to determine what law applies to an
  insurance policy. See Chemtura, 160 A.3d at 464.
                                           7

                                                                          Exhibit - Page 157
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                                                                    2007 WL 949441,

  at *4 (Del. Ch. Mar. 26, 2007)      he court does recognize that under New York law,



  that reasonably conveys the parties

  (quoting Fitzgerald v. Cantor, 1998 WL 842304, at *2 (Del. Ch. Nov. 5, 1998)

  (citing New York law)).

        As such, the Forum Selection Clauses must be interpreted under New York

  law pursuant to the choice of law                                           .

  B.    The Forum Selection Clauses Are Mandatory

                                         each contain two provisions addressing forum

  selection, which the Opening Brief refers to                                     These

  provisions first appear in                               -

  Policies. The Risk Details, which set forth details about the terms of the coverage,

  includes                                                     ing that

  herein to the contrary, this (Re)Insurance shall be governed by and construed in

  accordance with the laws of US New York and the exclusive jurisdiction of the US

                     The Risk Details also state that the terms of the Excess Directors

  and Officers Liability Company Reimbursement Insurance are

  in the wording referenced her       , and refers to

        Section 7, Governing Law and Jurisdiction, in the Excess Wording of


                                              8

                                                                           Exhibit - Page 158
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                                   , provides that:

          The constructions, interpretation and meaning of the terms, exclusions
          limitations and conditions of this excess policy shall be determined in
          accordance with the laws of the state or country specified in the RISK
          DETAILS of this policy, and any dispute arising hereunder will be
          subject to the exclusive jurisdiction of the courts of the state or country
          specified in the RISK DETAILS of this policy.

          Read together, the Forum Selection Clauses require that all disputes arising

  under                                    are subject to the exclusive jurisdiction of the

  New York courts, without any exception. Under both New York and Delaware law,

                                                                             from bringing

  an action against Underwriters in any jurisdiction other than the New York courts.

  See Fear & Fear, Inc. v. N.I.I. Brokerage, L.L.C., 50 A.D.3d 185, 187 (N.Y. 4th

               ) (explaining mandatory forum selection clause preclude litigation in

  other jurisdictions); Bonanno v. VTB Holdings, Inc., 2016 WL 614412, at *7 (Del.

  Ch. Feb. 8, 2016) (same).

          In the Opposition, AmTrust recognizes that the Forum Selection Clauses are



                                                                                        makes

  the Forum Selection Clauses conditional, rather than mandatory, allowing it to file

  an action in Delaware

  New York courts have exclusive jurisdiction over any dispute under the policies. On

  this basis, AmTrust attempts to distinguish the Forum Selection Clauses from the
                                              9

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  voluminous black letter law in New York and Delaware holding that similar forum

  selection clauses                                          must be enforced where, as

  here, the parties have some material relationship to the transaction.

        AmTrust                 ignores the fact that Section 7,

                                                                 Excess Policies clearly

  provides, without any exception,                                  under will be subject

  to the exclusive jurisdiction of the courts of the state or country specified in the RISK

  DETAILS of this policy. The Risk Details confirm that New York courts have

  exclusive jurisdiction and New York law applies, but also refer to the Excess

  Wording for the more fully defined terms. The Excess Wording includes Section 7,

  Choice of Law and Jurisdiction, which the Opposition fails to address. That

  provision does not contain any language suggesting there could be exceptions to the

  exclusive jurisdiction of New York courts based on other provisions. It is a clear

  declaration that only the courts of the state identified in the Risk Details New York

    have jurisdiction to hear disputes arising under                                    s.

        AmTrust does not dispute that New York and Delaware courts routinely find

  that similar forum selection clauses providing that a designated court has exclusive

  jurisdiction are mandatory and enforceable. See Puleo v. Shore View Ctr. for Rehab.

  & Health Care                                                                              as

  mandatory a provision requiring the


                                             10

                                                                              Exhibit - Page 160
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                  Lexington Servs. Ltd. v. U.S. Pat. No. 8019807 Delegate, LLC, 2018

  WL 5310261, at *4-5 (Del. Ch. Oct. 26, 2018) (enforcing as mandatory a provision

  stating that

  or claim arising out of or in connect                             . Instead, AmTrust

  attempts to distinguish these cases solely on the basis that the forum selection

  language in these cases lacked the purported

  the Risk Details. (Opp. at 10-11.)

        It is well-recognized in both New York and Delaware that where two

  provisions address the same subject, the specific unequivocal language controls over

  the qualified language. See Green Harbour Homeowners Ass n, Inc. v. G.H. Dev.

  & Const., Inc., 14 A

                                          Kirkwood Knoll Maint. Corp. v. Warren, 2016



                                   tion omitted); Katell v. Morgan Stanley Grp., Inc.,

                                                           Under well-settled rules of

  construction, specific language in a contract controls over general language.

  Moreover, unequivocal language controls over quali                     . This rule is

  consistent with the instruction in the Risk Details that the provisions in the Policy

  are set out in more detail in the Excess Wording.




                                              11

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                                                 . Section 7 of the Excess Wording

  affirmatively states, without exception, that New York courts have exclusive

  jurisdiction over any                                                . The exclusive

  jurisdiction of the New York courts is therefore not conditional, and must be

  enforced. See NuMSP, LLC v. St. Etienne, 462 F. Supp. 3d 330, 343 (S.D.N.Y. 2020)

                                       -selection clauses, bargained for by the parties,

  protects their legitimate expectations and furthers vital interests of the justice



                                 Atl. Marine Constr. Co. v. U.S. Dist. Court for the W.

  Dist. of Tex., 571 U.S. 49, 63 (2013)).

        In support of its position, AmTrust also cites a number of cases for the

  unremarkable proposition that a conditional forum selection clause will only apply

  if its conditions are met. AmTrust                  r this argument is Troy Corp. v.

  Schoon, in which the forum selection provision required an action to be brought in

  the Southern District of New York unless such court is unavailable, for the

                                                                                     2007

  WL 949441, at *1. The Troy court found that the clause did not apply because the

  Southern District of New York did not have subject matter jurisdiction over the




                                            12

                                                                           Exhibit - Page 162
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  dispute. Id. at *3. There is no such issue here5 AmTrust does not and cannot dispute

  that New York courts would have jurisdiction or that they would be a valid forum

  for this dispute.

         The other cases cited by AmTrust similarly do not support its efforts to avoid

  enforcement of the Forum Selection Clauses. In Eisenbud v. Omnitech Corp. Sols.,

  Inc., 1996 WL 162245, at *1 (Del. Ch. Mar. 21, 1996), the forum selection clause at

  issue was permissive, not mandatory, as it merely stated that the Superior Court of

  the State of New Jersey had jurisdiction over disputes, not that it had exclusive

  jurisdiction. In Duff v. Innovative Discovery LLC, 2012 WL 6096586, at *11 (Del.

  Ch. Dec. 7, 2012), the Court ruled that the forum selection provisions were not clear

  enough to be read as mandatory. In contrast, the Forum Selection Clauses at issue

  here clearly provide         any dispute arising hereunder will be subject to the

  exclusive jurisdiction of the courts of New York, and multiple courts have found

  that similar clauses provide for mandatory exclusive jurisdiction. See, e.g., Sydney

  Attractions Grp. Pty Ltd. v. Schulman,




  5

  issued to AmTrust in New York. There is no dispute that New York courts are a
  valid jurisdiction for disputes under the Excess Policies.
                                           13

                                                                           Exhibit - Page 163
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  court was mandatory and enforceable).6

  C.    The Single Action Clause Does Not Allow AmTrust to Bring An Action
        Outside of New York

                                                                 are conditional as they

  only apply                                                    . Section 7, Governing

  Law and Jurisdiction, in the Excess Wording of                                       does

  not provide for any exceptions to the exclusive jurisdiction of New York courts and

  there are no other provisions addressing either New York choice of law or

  jurisdiction. Further,                                                            Single



  of exclusive New York jurisdiction, is entirely consistent with the Forum Selection

  Clauses. As explained below, the Single Action Clause does not address the

  jurisdiction of New York courts or amend the Forum Selection Clauses in any way,

  and must be read in harmony with the Forum Selection Clauses.

        1.     The Single Action Clause Does Not Contradict the Forum Selection
               Clauses

        AmTrust argues that the Single Action Clause contradicts the Forum Selection



  6
    AmTrust also relies on Nat l Union Fire Ins. Co. of Pittsburgh, Pa. v. Trustwave
  Holdings, Inc., 2016 WL 2354621, at *3 (Del. Super. Ct. May 3, 2016), which
  involved two contracts with separate forum selection provisions, and the court was
  required to decide which of the forum selection clauses controlled or whether to split
  the litigation into two actions
  Policies have identical Forum Selection Clauses.
                                           14

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  Clauses and therefore provides an exception to the exclusive jurisdiction of the New

  York courts. The Single Action Clause provides: In the event that a dispute arises

  between the Insurer and the Insured under this excess policy in relation to matters

  that are also the subject of a dispute between the Insured and the insurers of any

  Underlying Insurance then those disputes shall be heard together in the same court

                               On its face, this provision merely requires AmTrust to

  include any related disputes with the Underlying Insurers in a proceeding filed

  against Underwriters under                                  . It states nothing about

  the proper forum for such a proceeding or the exclusive jurisdiction of the New York

  courts.

        According to AmTrust, the Single Action Clause functions as a jurisdictional

  clause that overrides the Forum Selection Clauses and allows AmTrust to file an

  action against Underwriters in any jurisdiction it chooses so long as it names any of

  the Underlying Insurers in that action. AmTrust also contends that the Single Action

  Clause incorporates                                       any arbitration provisions

  included in any of the Underlying Insurance Policies. The terms of

  Excess Policies                                        , and such an unreasonable

  interpretation of the Single Action Clause and Forum Section Clauses would be

  contrary to both New York and Delaware law. As explained above, the express and

  specific provisions of the Forum Selection Clauses cannot be overridden by the


                                           15

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  Single Action Clause, which does not say anything about what court has jurisdiction

  over any dispute or where a single action involving Underlying Insurers and

  Underwriters must be brought. See Green Harbour Homeowners' Ass'n, Inc. 14

  A.D.3d at 965 (explaining that specific provisions control over general provisions);

  DCV Holdings, Inc. v. ConAgra, Inc.



        Further, clauses dictating the jurisdiction in which an action may be brought

                                                                               See Magi

  XXI, Inc. v. Stato Della Citta Del Vaticano, 818 F. Supp. 2d 597, 604 05 (E.D.N.Y.

  2011),

                                                                                Effron v.

  Sun Line Cruises, 67 F.3d 7, 9 (2d Cir.1995)).                      and unreasonable

  reading of the Single Action Clause, which attempts to improperly add language to

                                     egarding jurisdictional limitations and various

  arbitration agreements with other parties, cannot create an exception to the clear and

  unambiguous Forum Selection Clauses. See Tourtellot v. Harza Architects, 55

  A.D.3d 1096, 1099 (N.Y. 3rd

  countervailing reason for excusing enforcement of this bargained-for forum




                                           16

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        2.                            Improperly Reads Entire Provisions out of




  read in a manner not to render any portion of the agreement meaningless. See Beal

  Sav. Bank v. Sommer, 865 N.E.2d 1210, 1213 (N.Y. 2007); (Opp. at 14 (citing RSUI

  Indem. Co. v. Murdock

  insurance contract will not                                                             .)

  Despite this, AmTrust argues that Underwriters                            should be

  interpreted to entirely read the term                    the Forum Selection Clauses

  in order to allow it to bring an action involving Underwriters and Underlying

                                      (Opp. at 15.)

        AmTrust asserts that it is not reading the Forum Selection Clauses out of

                                                      ingle Action Clause triggers the

  purported exception to the Forum Selection Clauses based on the

                          clause in the Risk Details. As explained above, however, this

  argument fails because (1) Section 7, Governing Law and Jurisdiction, of the Excess

  Wording of U                                                                exception

  or limitation to the exclusive jurisdiction of New York courts, and (2) the Single

  Action Clause does not address the exclusive jurisdiction of New York courts or

  expand the forums in which a dispute can be resolved.



                                            17

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        AmTrust also                                         of the Forum Selection

  Clauses would read out of the Single Action Clause the requirement that any dispute



  Selection Clauses do not allow for arbitration proceedings. AmTrust also contends

  that the Single Action Clause should be interpreted to incorporate any                  e

                           in any of the Underlying Insurance into Underwriters

  Excess Polices in addition to overriding the Forum Selection Clauses. (Opp. at 12.)

  This is incorrect.

        Again, AmTrust ignores the terms                                           in an

  effort to void its prior agreement to the exclusive jurisdiction of New York courts.

  There is nothing inconsistent with the Single Action Clause      requirement that a

  dispute with the Underlying Insurers should be heard in the same litigation or

  arbitration, and the Forum Selection Clause   requirement that any such dispute be

  brought in the courts of New York. AmTrust argues that because the Single Action



  involving Underwriters and the Underlying Insurers must be heard, there is no

  jurisdictional limitation. (Opp. at 14-15.) This improperly reads the Single Action

  Clause in isolation, as the Forum Selection Clauses clearly dictate that New York

  courts have exclusive jurisdiction over any disputes under Underwriters Excess

  Policies. See New York Univ. v. Factory Mut. Ins. Co., 374 F. Supp. 3d 315, 329


                                          18

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                                     Sea Ins. Co. v. Westchester Fire Ins. Co., 51 F.3d

  22, 26 (2d Cir. 1995)). Read together, these clauses require AmTrust to bring a single

  action for the same subject matter against Underwriters and the Underlying Insurers

  in a New York court. See Oot v. Home Ins. Co. of Indiana, 244 A.D.2d 62, 66 (N.Y.

               1998)

  the contra      .

          Further, AmTrust argues that the Single Action Clause should be read so

  broadly as to incorporate the dispute resolution procedures of the Underlying



  Selection Clauses. Paragraph 8.1 of

  event that a dispute arises between the Insurer and the Insured under this excess

  policy, the provisions of the Primary Policy are incorporated into this excess policy

  for the purposes of determining the dispute resolution procedures applicable to this

                                                s the dispute resolution procedures of only

  the Primary Policy7 into                                   . This necessarily means that

  the dispute resolution procedures of the other Underlying Insurance, other than the

  Primary Policy, are not incorporated. See KLS Diversified Master Fund, L.P. v.

  McDevitt, 507 F. Supp. 3d 508, 542 (S.D.N.Y. 2020), aff'd, 2022 WL 2759055 (2d


  7
      Attached to the Complaint as Exhibit B.
                                            19

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                                                 Seidensticker v. Gasparilla Inn, Inc.,



  the drafters excluded the other individuals contemplated by section V, because

  expressio unius est exclusio alterius   .8 As the Primary Policy does not contain any

  provisions regarding dispute resolution proceedings, Paragraph 8.1 does not

  incorporate any additional provisions into                               , and clearly

  cannot be used to broaden the Forum Selection Clauses. It also entirely rebuts



  arbitration provisions of any of the other Underlying Insurance.

        3.     Litigation in New York Satisfies the Purpose of the Single Action
               Clause

        AmTrust and Underwriters agree that the purpose of the Single Action Clause

  is to avoid piecemeal litigation, the costs of multiple proceedings, and the risk of

  inconsistent rulings. (Opp. at 16.) When read in conjunction with the Forum

  Selection Clauses, these goals are achieved by requiring AmTrust to bring any legal



  8
    See also CooperVision, Inc. v. Intek Integration Tech., Inc., 794 N.Y.S.2d 812, 819
  (N.Y. Sup. Ct. 2005)
  the contracting parties to an extraneous writing for a particular purpose makes it a
                                                           ) (quoting Guerini Stone Co.
  v. P.J. Carlin Constr. Co., 240 U.S. 264, 278 79 (1916)).
                                            20

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  proceeding against Underwriters and the Underlying Insurers together in a New

  York court. AmTrust argues this cannot be the intent of the Single Action Clause

  because the Single Action Clause does not bind the Underlying Insurers, which

  might bring declaratory judgment actions against AmTrust in other jurisdictions.

  (Opp. at 17-18.) Underwriters do not dispute that the Single Action Clause does not

  bind any non-                                                      obligations under

                                 .

        AmTrust argues that its reading of the Single Action Clause allowing it to

  bring an action against Underwriters in any jurisdiction of its choosing as long as it

  names an Underlying Insurer, must be correct because the underlying insurers could

  bring a declaratory judgment action in a separate jurisdiction. But this does not



  have exclusive jurisdiction over any dispute under Underw

  AmTrust also ignores the fact that the Underlying Insurance policy issued by Hiscox

  (Complaint, Exhibit J, at 2) also contains mandatory forum selection clauses

  providing that New York courts have exclusive jurisdiction over any dispute under

  the policy.

        E                                            Single Action Clause would not

  prevent the possibility of litigation with different insurers in multiple courts. As

  confirmed by AmTrust       dismissal of                                             from


                                            21

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  this action due to a Bermuda arbitration clause in the Markel policy, the Single

  Action Clause does not function to ensure that all possible permutations of any

  dispute between AmTrust and insurers can be heard in a single action.9

  unreasonable reading of the Single Action Clause as a third, expanded forum

  selection provision would n

                                                    .

        The Single Action Clause does not allow AmTrust to disregard its agreement

  that New York courts have exclusive jurisdiction over any dispute under

                                                                                             -

  defendant with Underwriters in a lawsuit it brings outside of New York.

        4.     The Single Action Clause Does Not Apply to this Dispute

        In the Opening Brief, Underwriters pointed out that AmTrust named one of

  the Underlying Insurers as a Defendant to support its argument that it could bring

  this action in Delaware regardless of the Forum Selection Clauses, despite having

  no real dispute with the Underlying Insurers.10 In the Opposition, AmTrust




  9
     AmTrust concedes that even under its own interpretation of the Single Action
  Clause, it must bring a separate arbitration against Markel in Bermuda, due to the
  arbitration clause in the Markel policy. (Opp. at 18-19; Compl. Exhibit H.) AmTrust
  arbitrarily justifies this on the grounds that it does not involve separate litigations.
  (Id.)
  10
     The other Underlying Insurer initially named in the Complaint was Markel, which
  AmTrust has voluntarily dismissed from this action.
                                            22

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  represented that it named Underlying Insurer Allianz because Underwriters took the

  position that the limits of the Underlying Insurance were not exhausted, which



          The Single Action Clause, however, only applies where AmTrust has a

  dispu

                                                     . Here, in both the Opposition and

  the Complaint, AmTrust has stated that it agrees with the position of the Underlying

  Insurers that their policies have been exhausted, and have only included the

  Underlying Insurers in this action in the alternative should the court disagree with

  their position. (Opp. at 12, n.4; Compl. ¶¶ 17-19.) As acknowledged by AmTrust,

  where there is no actual dispute between AmTrust and the Underlying Insurers, the

  Single Action Clause does not apply. (Opp. at 15-16.) Therefore, regardless of

              incorrect reading of the Single Action Clause, the Single Action Clause

  does not apply and the Forum Selection Clauses should be enforced.

          Recognizing this problem with its position, AmTrust argues that because the

  Sixth Excess Policy includes the policies on the fifth excess layer

  Insurance, and defendant Arch Insurance Company                   issued a policy on the

  fifth excess layer without a forum selection provision, the Single Action Clause of

  the Sixth Excess Policy still applies. (See Opp. at 13.) Even if this theory was correct,

  however, the Forum Selection Clauses of Underwrit                         y for the fifth


                                             23

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  excess layer would still be valid and enforceable, and the only jurisdiction that could

                                                                       .

                                    CONCLUSION

        For the foregoing reasons, pursuant to Super. Ct. Civ. R. 12(b)(3),

  Underwriters respectfully request that this Court dismiss this action as to

  Underwriters pursuant to the Forum Selection Clauses of                          Excess

  Policies.



  Dated: August 12, 2022                     Respectfully submitted,

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                                       25

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                                                         Transaction ID 67927359
                                                         Case No. N22C-04-010 MMJ CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
  _________________________________
                                    )
    AMTRUST FINANCIAL               )
    SERVICES, INC.,                 )
                                    )
                     Plaintiff,     )
                                    ) C.A. No. N22C-04-010 MMJ CCLD
         v.                         )
                                    )
    FORGE UNDERWRITING              )
    LIMITED, et al.,                )
                                    )
                     Defendants.    )
                                    )

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                                                    Case No. N22C-04-010 MMJ CCLD
                          CERTIFICATE OF SERVICE

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                            Francis G.X. Pileggi
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                       500 Delaware Avenue, Suite 700
                           Wilmington, DE 19801



                                             /s/ John C. Phillips, Jr.
                                             John C. Phillips, Jr. (#110)




                                                                        Exhibit - Page 178
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 180 of 188 PageID #: 1241
                                                     EFiled: Aug 15 2022 10:14AM EDT
                                                     Transaction ID 67930234
                                                     Case No. N22C-04-010 MMJ CCLD




                                  August 15, 2022

  Via File & ServeXpress & Hand Delivery
  The Honorable Mary M. Johnston
  Superior Court of the State of Delaware
  Leonard L. Williams Justice Center
  500 North King Street
  Wilmington, DE 19801

        Re:   AmTrust Financial Services, Inc. v. Forge Underwriting Limited, et
              al.
              C.A. No. N22C-04-010 MMJ CCLD

  Dear Judge Johnston:

       Enclosed please find two (2) copies of each of the following documents,
  which were filed on August 12, 2022 under Transaction ID No. 67927359:

        1.    Reply Brief in Support of Forge Underwriting Limited and Aspen
              Syndicate 4711’s Motion to Dismiss the Complaint;

        2.    Certificate of Compliance and Certificate of Service.


                                              Respectfully,

                                              /s/ David A. Bilson

                                              David A. Bilson (#4986)

  cc:   Prothonotary (via File & ServeXpress)
        Counsel of Record (via File & ServeXpress)




                                                                        Exhibit - Page 179
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 181 of 188 PageID #: 1242
                                                     EFiled: Aug 17 2022 03:31PM EDT
                                                     Transaction ID 67941683
                                                     Case No. N22C-04-010 MMJ CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


      AMTRUST FINANCIAL SERVICES,
      INC.,

               Plaintiff,

               v.                           C.A. No. N22C-04-010 MMJ CCLD

      FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
      ASPEN SYNDICATE 4711,        TWELVE DEMANDED
      MARKEL BERMUDA LIMITED,
      ALLIANZ GLOBAL US RISKS
      INSURANCE COMPANY, ARCH
      INSURANCE COMPANY,
      IRONSHORE INDEMNITY, INC.,
      and U.S. SPECIALTY INSURANCE
      COMPANY,

               Defendants.


                     NOTICE OF VOLUNTARY DISMISSAL
                      OF IRONSHORE INDEMNITY, INC.

         Plaintiff AmTrust Financial Services, Inc. hereby voluntarily dismisses

  defendant Ironshore Indemnity, Inc. from the above-captioned action without

  prejudice pursuant to Superior Court Civil Rule 41(a)(1)(I)1.      This voluntary

  dismissal applies solely to defendant Ironshore Indemnity, Inc.



  1 Super Ct. Civ. R. 41(a): “Voluntary Dismissal: Effect Thereof. (1) By Plaintiff …
  an action may be dismissed by the plaintiff without order of court (I) except in
  replevin, by filing a notice of dismissal at any time before service by the adverse
  party of an answer or of a motion for summary judgment whichever first occurs[.]”



                                                                         Exhibit - Page 180
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  Dated: August 17, 2022                       BERGER HARRIS LLP


  Of Counsel:                                  /s/ David J. Baldwin
                                               David J. Baldwin (No. 1010)
  Peter M. Gillon (pro hac vice)               Peter C. McGivney (No. 5779)
  Tamara D. Bruno (pro hac vice)               1105 N. Market Street, 11th Floor
  Pillsbury Winthrop Shaw Pittman LLP          Wilmington, DE 19801
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                                               Attorneys for Plaintiff AmTrust Financial
                                               Services, Inc.




                                        2
                                                                     Exhibit - Page 181
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                            CERTIFICATE OF SERVICE

        I, David J. Baldwin, hereby certify that on August 17, 2022, I caused a true and

  correct copy of Notice of Voluntary Dismissal of Ironshore Indemnity, Inc. to be served

  upon the following individuals in the manner indicated below:

   VIA FILE AND SERVEXPRESS                   VIA FILE AND SERVEXPRESS

   Robert J. Katzenstein, Esq.                John C. Phillips, Jr., Esq.
   Julie M. O’Dell, Esq.                      David A. Bilson, Esq.
   Smith Katzenstein & Jenkins LLP            Phillips, McLaughlin & Hall, P.A.
   1000 West Street, Suite 1501               1200 North Broom Street
   Wilmington, DE 19801                       Wilmington, DE 19806

   VIA FILE AND SERVEXPRESS

   Francis G.X. Pileggi, Esq.
   Ciro C. Poppiti, Esq.
   Lewis Brisbois Bisgaard & Smith LLP
   500 Delaware Avenue, Suite 700
   Wilmington, DE 19801



                                                /s/ David J. Baldwin
                                                David J. Baldwin (No. 1010)




                                                                            Exhibit - Page 182
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 184 of 188 PageID #: 1245
                                                     EFiled: Aug 30 2022 04:39PM EDT
                                                     Transaction ID 67998834
                                                     Case No. N22C-04-010 MMJ CCLD
         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


      AMTRUST FINANCIAL SERVICES,
      INC.,

               Plaintiff,

               v.                           C.A. No. N22C-04-010 MMJ CCLD

      FORGE UNDERWRITING LIMITED, TRIAL BY JURY OF
      ASPEN SYNDICATE 4711,        TWELVE DEMANDED
      MARKEL BERMUDA LIMITED,
      ALLIANZ GLOBAL US RISKS
      INSURANCE COMPANY, ARCH
      INSURANCE COMPANY,
      IRONSHORE INDEMNITY, INC.,
      and U.S. SPECIALTY INSURANCE
      COMPANY,

               Defendants.


                   NOTICE OF VOLUNTARY DISMISSAL
                 OF U.S. SPECIALTY INSURANCE COMPANY

         Plaintiff AmTrust Financial Services, Inc. hereby voluntarily dismisses

  defendant U.S. Specialty Insurance Company from the above-captioned action

  without prejudice pursuant to Superior Court Civil Rule 41(a)(1)(I)1. This voluntary

  dismissal applies solely to defendant U.S. Specialty Insurance Company.



  1 Super Ct. Civ. R. 41(a): “Voluntary Dismissal: Effect Thereof. (1) By Plaintiff …
  an action may be dismissed by the plaintiff without order of court (I) except in
  replevin, by filing a notice of dismissal at any time before service by the adverse
  party of an answer or of a motion for summary judgment whichever first occurs[.]”



                                                                          Exhibit - Page 183
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 185 of 188 PageID #: 1246




  Dated: August 30, 2022
                                               BERGER HARRIS LLP
  Of Counsel:

  Peter M. Gillon (pro hac vice)               /s/ David J. Baldwin
  Tamara D. Bruno (pro hac vice)               David J. Baldwin (No. 1010)
  Pillsbury Winthrop Shaw Pittman LLP          Peter C. McGivney (No. 5779)
  1200 Seventeenth Street NW                   1105 N. Market Street, 11th Floor
  Washington, DC 20036                         Wilmington, DE 19801
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                                               pmcgivney@bergerharris.com


                                               Attorneys for Plaintiff AmTrust Financial
                                               Services, Inc.




                                        2
                                                                     Exhibit - Page 184
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 186 of 188 PageID #: 1247
                                                      EFiled: Aug 30 2022 04:39PM EDT
                                                      Transaction ID 67998834
                                                      Case No. N22C-04-010 MMJ CCLD
                           CERTIFICATE OF SERVICE

        I, David J. Baldwin, hereby certify that on August 30, 2022, I caused a true and

  correct copy of Notice of Voluntary Dismissal of U.S. Specialty Insurance Company to

  be served upon the following individuals in the manner indicated below:

  VIA FILE AND SERVEXPRESS                   VIA FILE AND SERVEXPRESS

  Robert J. Katzenstein, Esq.                John C. Phillips, Jr., Esq.
  Julie M. O’Dell, Esq.                      David A. Bilson, Esq.
  Smith Katzenstein & Jenkins LLP            Phillips, McLaughlin & Hall, P.A.
  1000 West Street, Suite 1501               1200 North Broom Street
  Wilmington, DE 19801                       Wilmington, DE 19806

  VIA FILE AND SERVEXPRESS

  Francis G.X. Pileggi, Esq.
  Ciro C. Poppiti, Esq.
  Lewis Brisbois Bisgaard & Smith LLP
  500 Delaware Avenue, Suite 700
  Wilmington, DE 19801



                                               /s/ David J. Baldwin
                                               David J. Baldwin (No. 1010)




                                                                            Exhibit - Page 185
Case 1:22-cv-01210-UNA Document 2-2 Filed 09/15/22 Page 187 of 188 PageID #: 1248
                                                 EFiled: Sep 14 2022 11:57AM EDT
                                                 Transaction ID 68101278
                                                 Case No. N22C-04-010 MMJ CCLD




                                                                    Exhibit - Page 186
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                                                                    Exhibit - Page 187
